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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

 

 

DALLAS DIVISION CW PLS, DISTRICT COURT
ALLEN V. SCHEINER, on Behalf of § oo «éDepaty
Himself and All Others Similarly Situated, § Civil No. 3:01-CV-418-H
§ (Consolidated)
PLAINTIFF, §
§
Vv. §
§
§
i2 TECHNOLOGIES, INC., SANJIV §
S. SIDHU, GREGORY A. BRADY § CLASS ACTION
and WILLIAM M. BEECHER, §
§
§ JURY TRIAL DEMANDED
DEFENDANTS. §

SECOND AMENDED AND CONSOLIDATED CLASS ACTION
COMPLAINT FOR VIOLATION OF THE FEDERAL SECURITIES LAWS
Plaintiffs, by their undersigned counsel, make the following allegations upon information

and belief based upon all of the facts set forth below which were obtained through an extensive
investigation made by and through their attorneys. Counsel's investigation has included, among
other things, a review of: (i) the public filings of i2 Technologies, Inc. ("i2" or the "Company") with
the Securities and Exchange Commission (the "SEC"); (ii) press releases and other public statements
issued by defendants; (iii) published reports and news articles regarding the Company; (iv) the
documents provided by i2 and certain third parties in discovery demands; and (v) confidential
communications with certain former i2 employees and independent consultants. Plaintiffs believe
that substantial evidentiary support will exist for the allegations set forth below after a reasonable

opportunity for further discovery.
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NATURE OF THE ACTION

1. This is a securities fraud class action on behalf of purchasers of i2 common stock
between March 22, 2000 and January 27, 2003, inclusive (the "Class Period"), seeking to pursue
remedies under the Securities Exchange Act of 1934 (the "Exchange Act").

JURISDICTION AND VENUE

2. The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of
the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the
SEC (17 C.F.R. § 240.10b-5).

3. This Court has jurisdiction over the subject matter of this action pursuant to
Section 27 of the Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331.

4. Venue is proper in this District pursuant to Section 27 of the Exchange Act (15
U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Many of the acts and transactions giving rise to the
violations of law complained of herein, including the preparation and dissemination of materially
false and misleading information to the investing public, occurred in this District and i2 maintains
its principal executive offices in this District.

5. In connection with the acts, conduct and other wrongs complained of herein,
defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,
including, but not limited to, the mails, interstate telephone communications and the facilities of the
national securities markets.

PARTIES

6. Lead Plaintiffs, as set forth in the attached Schedule A incorporated herein by

reference, purchased i2 common stock during the Class Period at artificially inflated prices and were

damaged thereby.
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7. On January 9, 2003, the Court issued an Order certifying Lead Plaintiffs Philip A.
Anthony, Milson Lopes dos Reis, G.O. Morphew and Frederick W. Bradley as Class
Representatives for a class consisting of all persons who purchased or otherwise acquired i2
common stock between May 4, 2000 and February 26, 2001 inclusive (the "Class Period"). Lead
Plaintiffs will seek to expand the Class to the Class Period set forth herein of March 22, 2000
through January 27, 2003.

8. Excluded from the Class are the defendants, members of the immediate families of
the individual defendants (identified in paragraphs 10-14, below), any subsidiary, affiliate, or
employer of any Defendant, or any entity in which an excluded person has a controlling interest, and
the legal representatives, heirs, successors and assigns of any excluded person.

9. Defendant i2 is a Delaware corporation with its executive offices located at 11701
Luna Road, Dallas, Texas 75234. i2 describes itself as a leading provider of e-business and
marketplace software solutions that may be used by enterprises to optimize business processes both
internally and with their trading partners. i2's products include software applications for supply
chain management, supplier relationship management and customer relationship management.

10. Defendant Sanjiv S. Sidhu ("Sidhu"), at all times relevant to this action, served as the
Company's Chairman and Chief Executive Officer.

11. Defendant Gregory A. Brady ("Brady"), at all times relevant to this action, served
as the Company's President.

12. Defendant William M. Beecher ("Beecher"), at all times relevant to this action,

served as the Company's Executive Vice President and Chief Financial Officer.
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13. Defendant Nancy F. Brigham ("Brigham") was, at times relevant to the allegations
herein, i2's Controller. Defendant Brigham signed several of the filings submitted by i2 to the SEC
throughout the Class Period as i2's principal accounting officer.

14. Defendant David C. Becker ("Becker") is, and was at times relevant to the allegations
herein, i2's Vice President-Finance & Accounting. Defendant Becker signed several of the filings
submitted by i2 to the SEC throughout the Class Period as i2's principal accounting officer.

15. The individual defendants referred to in ff 10-14 above are referred to herein as the
"Individual Defendants" and collectively with the Company as "Defendants."

16. Asofficers and controlling persons ofa publicly-held company whose common stock
was, and is, registered with the SEC pursuant to the Exchange Act, and was traded on the NASDAQ
National Market (the “NASDAQ”), and governed by the provisions of the federal securities laws,
the Individual Defendants each had a duty to disseminate promptly, accurate and truthful
information with respect to the Company's performance, operations, business, products, markets,
management and present and future business prospects, and to correct any previously-issued
statements that had become materially misleading or untrue, so that the market price of the
Company's publicly-traded securities would be based upon truthful and accurate information. The
Individual Defendants’ misrepresentations and omissions during the Class Period violated these
specific requirements and obligations.

17. The Individual Defendants, because of their positions of control and authority as
officers and/or directors of the Company, were able to and did control the content of the various
SEC filings, press releases and other public statements pertaining to the Company during the Class
Period. Each Individual Defendant was provided with copies of the documents alleged herein to be

misleading prior to or shortly after their issuance and/or had the ability and/or opportunity to prevent

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their issuance or cause them to be corrected. Accordingly, each of the Individual Defendants is
responsible for the accuracy of the public reports and releases detailed herein and is therefore
primarily liable for the misrepresentations contained therein. The Individual Defendants are also
liable as controlling persons of the Company. As set forth in the Form 10-Q filed by the Company
on or about August 14, 2000, among other filings made by the Company, "[The Company's]
executive officers and directors together beneficially own approximately 37% of the total voting
power of our company. Accordingly, these stockholders will be able to determine the composition
of our Board of Directors, will retain the voting power to approve all matters requiring stockholder
approval and will continue to have significant influence over our affairs."

18. It is appropriate to treat the Individual Defendants as a group for pleading purposes
and to presume that the false, misleading and incomplete information conveyed in the Company's
public filings, corporate press releases and other public statements as alleged herein were the
collective actions of the narrowly defined group of Defendants identified above. Each of the above
officers of i2, by virtue of his high-level positions with the Company, directly participated in the
management of the Company, was directly involved in the day-to-day operations of the Company
at the highest levels and was privy to confidential proprietary information concerning the Company
and its business, operations and products, as alleged herein. The Individual Defendants were also
directly involved in making, drafting, producing, reviewing and/or disseminating the false and
misleading statements and information alleged herein, were aware, or recklessly disregarded, that
the false and misleading statements were being issued regarding the Company, and approved or
ratified these statements, in violation of the federal securities laws.

19. Each of the Defendants is liable as a participant in a fraudulent scheme and course

of business that operated as a fraud or deceit on purchasers of i2 common stock by disseminating

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materially false and misleading statements and/or concealing material adverse facts. The scheme:
(i) deceived the investing public regarding i2’s business, operations, products and the intrinsic value
of i2 common stock; (ii) deceived the investing public regarding the true condition of i2's revenues
and assets; (iii) enabled the Individual Defendants to sell $489, 102,835.19 of their personally-held
shares of i2 common stock at artificially inflated prices; and (iv) caused Lead Plaintiffs and other
Class members to purchase i2 securities at artificially inflated prices.

UNDISCLOSED MATERIAL INFORMATION

20. i2 describes itself as a leading provider of e-business software solutions that may
be used by companies to optimize their business processes both internally and among trading
partners. i2's products, marketed as TradeMatrix software, include software applications for supply
chain management, supplier relationship management and customer relationship management. For
example, i2's Supply Chain Planner software application is marketed as software that determines the
quantity and timing of production, purchasing and transportation to optimally match demand to
supply based on dependencies between production plants, suppliers and any other defined
constraints. 12's Demand Planner software application is marketed as software that is designed to
provide a multi-dimensional view of projected demand for a service or product based on a set of
algorithms and previous demand levels.

21. Throughout the Class Period, as set forth below, Defendants described i2's
TradeMatrix software as an "integration solution" capable of working with "any back-end
transaction system" and offering "standard integration" to a variety of computer systems, which
features and capabilities purportedly differentiated TradeMatrix from other software systems offered
by i2's competitors who "struggled" with implementation issues. In truth, i2's TradeMatrix software

was not an integrated package as represented by Defendants, but a series of software application

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programs which had to be individually integrated with both each other and with the customer's
existing computer systems, on a project-by-project basis, during implementation procedures in order
to achieve any of the software's promised interoperability and functionality. Further, as set forth
below, in recognizing revenue from the sale of this software, Defendants violated Generally
Accepted Accounting Principles ("GAAP") in failing to account for the extensive integration work
needed for the software. Given their positions and responsibilities within the Company, each of the
Individual Defendants had direct knowledge of or recklessly ignored these facts in describing the
software during the Class Period.

22. Among other things, the individual software application programs sold by the
Company as part of its "integrated" TradeMatrix solution are not designed to work together or share
information because they operate on hierarchal databases or "flat" files which makes the sharing of
data extremely difficult and complex (as opposed to relational databases where common points of
data are routinely shared). For example, although i2's Demand Planner and Supply Chain Planner
software applications are supposed to work together as part of i2's "integrated" software solution
(and it is essential for the customer that they do so), Demand Planner cannot share data or work with
Supply Chain Planner absent time consuming manual processes, where data is literally downloaded
from Demand Planner into hundreds or thousands of files and supporting files and then manually
re-loaded into Supply Chain Planner. These manual processes consume as much as six to ten hours
ofa full staffof programmers, quality assurance personnel, technicians and business representatives,
each time the software applications are required to share data, which is as often as weekly. All of
these procedures would not be required if the i2 software was integrated as described by Defendants.
Similarly, although it is necessary for the following software applications to share data, each of the

following i2 software applications, among others, are not integrated with each other and cannot

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routinely share data: Supply Chain Strategist and Supply Chain Planner; Production Scheduler and
Factory Planner; Transportation Optimizer and Supply Chain Planner; and Product Sequencer and
Factory Planner. Many of these i2 software applications, even if used as stand alone products (such
as Supply Chain Planner or Demand Planner), are extremely complex to install and require high
levels of configuration to be implemented and operate successfully in commercial environments.
All of these circumstances caused the implementation of i2's TradeMatrix software to be complex,
time-consuming (taking an average of one to two full years for implementation), expensive and, in
numerous undisclosed cases, unsuccessful. Asa result, customers often complained that i2 oversold
its TradeMatrix software and provided them with software that did not work as described during
sales presentations.

23. i2 employees were aware of these undisclosed complaints and the Company's practice
of selling customers on capabilities of TradeMatrix software that did not exist, leaving it up to the
i2 implementation teams to do their best to make the software work as promised. As a result, i2
employees often joked internally that i2's TradeMatrix software ran best on PowerPoint or slide
presentations used at the Company's sales pitches to prospective new customers and that the
Company sold "slide"ware and not software. i2's business development representatives also
complained in internal weekly meetings that 12's sales teams oversold i2's TradeMatrix software and
were making "false promises" to customers which the Company could not keep. At the same time,
i2's sales force was instructed never to say "no" to a potential customer's inquiries about the
software's capabilities, even if the requested capabilities did not exist.

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26. Indeed, while Defendants were making their numerous Class Period representations
about the software's purported capabilities, they were each aware of and failed to disclose a number
of adverse, material problems with the integration of i2's TradeMatrix software with numerous major
customers whose names appeared in press releases and SEC filings issued by the Company. These
customers included, among others, Nike, Inc. ("Nike"); Kmart Corporation ("Kmart"); Motorola,
Inc. ("Motorola"); Amazon.com, Inc. ("Amazon.com"); Occidental Chemical Corporation
("Occidental"); Frito-Lay, Inc. ("Frito-Lay"); Seagate Technology, Inc. ("Seagate"); Compaq

Computer Corp. ("Compaq"); and Polo Ralph Lauren Corporation ("Polo").

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27. Defendants’ failure to disclose the complexity, time and expense associated with the
implementation and integration of i2's TradeMatrix software, while falsely describing the software
as an "integration solution" capable of working with "any back-end transaction system" and offering
"standard integration" to a variety of computer systems, resulted in material deception of the
investing public.

28. Only after Nike announced the material, ongoing problems it was experiencing with
its implementation and integration of i2's TradeMatrix software, did Defendants begin to include the
following warning in the Company's public filings with the SEC:

IMPLEMENTATION OF OUR PRODUCTS IS COMPLEX, TIME-CONSUMING

AND EXPENSIVE AND CUSTOMERS MAY BE UNABLE TO IMPLEMENT

OUR PRODUCTS SUCCESSFULLY OR OTHERWISE ACHIEVE THE

BENEFITS ATTRIBUTABLE TO OUR PRODUCTS.

Our products must integrate with the many existing computer systems and software

programs of our customers. This can be complex, time-consuming and expensive,

and may cause delays in the deployment of our products. Our customers may be

unable to implement our products successfully or otherwise achieve the benefits

attributable to our products.

29. This disclaimer (although not at all complete) was not made by Defendants
throughout the Class Period and did not appear in connection with any of Defendants’ repeated
claims during the Class Period regarding the purportedly unique capabilities of i2's TradeMatrix
software to integrate with customers' existing computer systems.

30. The severe problems encountered by Nike with its implementation and integration
of i2's software that are set forth below demonstrate the material facts not disclosed by Defendants

that were necessary to make their repeated Class Period statements regarding Nike and/or i2's

TradeMatrix software complete and accurate when made.

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THE NIKE IMPLEMENTATION PROBLEMS

31. On May 4, 2000, Defendants included a statement in the Company's Annual Report
which stated, in the present tense, that Nike, the world’s largest athletic shoe company, was already
using i2's TradeMatrix software to improve its operations. In fact, at the time that statement was
made and the Company's Annual Report was disseminated, as each of the Defendants knew, the i2
software purchased by Nike was not yet integrated into Nike's operations or being used by Nike as
represented. As of that time and thereafter, Nike and i2 employees were encountering numerous,
material problems attempting to integrate the various TradeMatrix software applications that Nike
had purchased from i2, both with each other and with Nike's existing computer systems. Asa result,
the i2 software did not go "live" at Nike or begin processing actual data until June 2000, well after
Defendants' statement was made. Nonetheless, the integration problems persisted, and by November
2000, each of the Individual Defendants was aware that the software had caused severe operational
consequences for Nike, including specifically, duplicate factory orders for millions of pairs of shoes
for which Nike did not have demand and the failure to order up to $100 million of shoes which were
in high demand. Nonetheless, in December 2000 (as set forth below), i2 senior Vice President Terry
Turner again discussed the i2-Nike relationship in a highly positive light, without disclosing any of
the known implementation difficulties and adverse results already experienced by Nike as of that
time, which were necessary to make Turner's statements on behalf of the Company complete and
accurate when made.

32. The i2-Nike relationship began in early 1999. At that time, Nike began ordering
$400 million of computer software that was expected to greatly enhance planning, processing,
tracking and shipping of its products. Among the software selected by Nike was i2's TradeMatrix

software, including the following applications of that software: Supply Chain Planner, Demand

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Planner, Collaboration Planner and Production Scheduler. As noted above, these TradeMatrix
software applications did not go "live" or begin processing actual data for Nike's operations until
June 2000. Prior to that time, Nike (through its managers who ran the i2 implementation, including
John Richards (the project manager for Nike), and Nike's global supply chain director, Gordon
Steele) made numerous complaints to i2, specifically to Individual Defendants Sidhu and Brady,
regarding the software's implementation and functionality. Among other complaints, Nike
complained that i2 "oversold" its TradeMatrix software, particularly in representing to Nike that the
different software applications purchased by Nike, including Collaboration Planner, Supply Chain
Planner and Demand Planner, were integrated and would work easily together when that was not
true. In fact, during the implementation Nike discovered that these i2 software applications did not
operate under common rules, could not routinely share information, had different ways of storing,
reading and writing data (that is, data stored in different data formats) and required time consuming
programing changes which substantially delayed Nike's implementation of i2's software. Nike also
complained that the Supply Chain Planner software was unable to communicate with Nike's existing
computer systems and often crashed when communicating with Nike's existing systems. Other
complaints included that the i2 software needed to be highly customized to operate with Nike's
existing systems and that changes to the i2 software caused the software's operation to be too slow,
so that it took as long as two minutes for computer screens to appear on Nike's system and 30
seconds to one minute for a single change in data or entry to be recorded by the software. In
addition, Nike complained that i2's software could only take advantage of one central processing
unit ("CPU") while Nike's computer hardware employed multiple CPUs. Nike also complained that
i2's Demand Planner software application could not process all of the product numbers or stock

keeping units ("SKU"s) required by Nike. During this time period, defendant Brady, among other

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senior i2 executives, personally attended meetings held at Nike's facilities to address Nike's
complaints about the software's functionality and implementation. Given the importance of the Nike
account and the Individual Defendants' direct personal responsibilities and interaction with Nike
prior to and during the Class Period, each of the Defendants were well aware of Nike's complaints
and difficulties with the implementation of the TradeMatrix software or recklessly ignored those
complaints and difficulties in making their Class Period statements.

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34.

35. Despite the delayed implementation, i2's software severely malfunctioned when it
finally went "live" in June 2000, as a result of the software's inability to integrate with Nike's
existing computer systems and with its own various applications. Specifically, the Demand Planner
and Supply Chain Planner software applications (which could not routinely share data or query each
other) sent flawed data to Nike's contract manufacturers in Asia for Nike's Spring 2001 line which
resulted in double orders for millions of shoes in poor demand and, at the same time, the software
failed to place sufficient orders for certain, popular shoe models. These errors were caused by 12's
software's inability to integrate with Nike's existing computer systems as well as the software's
inability to share data among its own various applications. Among other things, when Nike data was
uploaded on to Demand Planner from Nike's three major and numerous other minor computer
systems, Demand Planner only processed the last data record it received for any given product. This
resulted in inconsistent, incomplete and unreliable data. Thereafter, when the same data was
uploaded on to Supply Chain Planner, that software application processed different data records for
the same products, leading to further inconsistencies and errors. Demand Planner also "dropped"
or lost Nike ordering data within six to eight weeks from when it was entered, making it impossible
for planners to recall what they had asked each factory to produce. This forced Nike to accept all

shoes produced whether or not they were ordered. i2 software also failed to "lock out" previously

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committed factory orders recorded by Nike. As a result, when the factories received updated
ordering plans from Nike, the plans incorrectly showed that the factories needed to make more shoes
than Nike had requested, ignoring orders for which Nike already had commitments. Asa result of
these integration errors, Nike wound up accepting 5 million pairs (or $90 million worth) of poorly
selling shoes for which it had no demand and was faced with a $80-100 million shortfall of shoes
in strong demand.

36. By November 2000, Defendants were each aware of these material problems as they
participated in i2's efforts to create technical "workarounds" to avoid a reoccurrence of these
massive ordering errors. These efforts were substantial and involved more than 50 i2 employees
(plus additional Nike employees and independent consultants) working on the Nike project full-time.
Among other things, i2 and independent computer consultants retained by Nike attempted to create
alternate databases in order to bypass certain applications of the i2 software, as well as customized
bridges to allow i2's various software applications to share data. At the same time, Nike and its
independent consultants designed a manual, time-consuming weekly procedure designed to share
data between i2's Demand Planner and Supply Chain Planner software applications, whereby data
was downloaded from Demand Planner on to thousands of files and supporting files, and checked
and re-loaded into Supply Chain Planner on Friday afternoons. This manual process consumed as
much as six to ten hours of a full staff of programmers, technicians and Nike business
representatives. Nike also created "Short-Term and Long-Term Data Solution Planner" groups to
deal with the data problems created by the i2 software implementation, which included duplicate,
incorrect, inconsistent, missing and lost data. These groups attempted to recover and realign the data
so that the underlying Nike data would be accurately portrayed. Despite these serious problems in

the Nike implementation and integration, in December 2000, senior i2 Vice President Terry Turner

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again discussed the i2-Nike relationship in a highly positive light, without disclosing the known
implementation difficulties and adverse results already experienced by Nike which were necessary
to make Turner's statements on behalf of the Company complete and accurate when made.

37. As set forth below, on February 26, 2001, Nike publicly announced that as a result
of its software implementation problems, it would miss analysts' earnings estimates by as much as
30%. Nike's disclosure was the first public disclosure of its problems with i2 software and, resulted
in an immediate decline in the price of i2 common stock. Thereafter, i2's reported results continued
to decline as other potential i2 customers learned about the Nike experience and other failed or
troubled i2 implementations and began questioning i2's sales representations. In June 2001, Nike
began replacing i2's software for its Canada and United States markets, where the majority of the
problems occurred with SAP and Oracle software.

OTHER CUSTOMER PROBLEMS

 

38. During the Class Period, Kmart also experienced undisclosed, material problems with
12's TradeMatrix software. Among the TradeMatrix software applications purchased by Kmart was
Collaboration Planner. It was represented to Kmart by i2 that this software application would permit
Kmart to communicate with all of its vendors and process all of the product numbers or SKUs
associated with those vendors. In fact, the software was not capable of processing a sufficient
number of SKUs. Kmart discontinued its use of Collaboration Planner in March 2001. Defendants
were each aware of these facts, as Kmart represented a major new account for the Company, with
Individual Defendant Sidhu, the Company's CEO, personally responsible for the Kmart project.

39. Prior to the start of the Class Period, Motorola also experienced material problems
with the Company's software. By the start of the Class Period, Motorola had discontinued its entire

relationship with i2 as a result of undisclosed problems Motorola experienced with i2's software's

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inability to integrate with and process all of its data. As a result of these problems, Motorola
employees also charged the Company's sales force with overselling its software. In addition,
Amazon.com, a major i2 customer, was never able to successfully use i2's Demand Planner software
despite numerous hours of attempted integration work and eventually stopped using the system
altogether as of January 2001. Prior to the start of the Class Period, Seagate also terminated its use
of i2's software after i2 failed to meet its sales promises regarding implementation and functionality.
All of these problems suffered by i2's "flagship" customers were known to or recklessly disregarded
by Defendants and never disclosed to the investing public by them in connection with their
numerous Class Period statements about the software's purportedly unique integration capabilities.
Rather, as set forth below, during the Class Period, Defendants made numerous, materially false and
misleading statements about the Company's software that were not corrected until after Nike's
February 26, 2001 disclosure. Defendants were well aware of or recklessly disregarded all of these
implementation and integration problems, among others suffered by other i2 customers. In fact, i2
maintained a confidential Intranet Lotus Notes database accessible to all of the Individual
Defendants which contained detailed information on the Company's customer implementation
problems (input by the i2 implementation team responsible for the projects) which could be sorted
by customer name (¢.g., Nike), customer industry (¢.g., consumer goods) or i2 software application
sold (e.g., Supply Chain Planner). The name of this Lotus Notes file was "CUSTINFO.NSF."

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DEFENDANTS' DECEPTIVE ACCOUNTING PRACTICES

45. In addition to issuing materially false and misleading statements regarding the
integrated nature of i2's software and the failure to disclose the significant problems i2 was facing
in installing the systems throughout the Class Period, i2 also was able to prolong the illusion of
strong revenue and earnings growth, which, in fact, did not exist, by deliberately engaging in various
types of improper accounting, including, among other things, violations of GAAP, as documented
in detail herein.

46. Over a period of four years, Defendants published materially false financial
statements regarding i2 for the fiscal years ended December 31, 1999, December 31, 2000 and

December 31,2001. These statements materially inflated i2's revenues and account receivables, and

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caused the price of i2 common stock to be significantly inflated or distorted during the Class Period.
These statements were made in knowing and purposeful violation or reckless disregard of
controlling revenue recognition requirements under GAAP and the disclosure requirements of the
federal securities laws. These materially false and misleading financial statements were included,
as discussed elsewhere herein, in the Company's regular, periodic filings with the SEC.

47. On November 14, 2002, i2 filed its Form 10-Q for the quarterly period ended
September 30, 2002 (the "November 2002 Form 10-Q"). In the November 2002 Form 10-Q,
Defendants, for the first time revealed problems they knew or should have known about i2's
accounting processes. The November 2002 Form 10-Q states:

We and certain members of our board of directors have received a series of
communications from two of our former officers containing a variety of allegations
generally related to: accounting and revenue recognition; inadequate financial
controls: and gross negligence or potential fraud in connection with product and
customer problems, acquisitions, public disclosure and other management decisions.

Prior to sending the initial correspondence in the series described above, each of the
former officer had made claims against us seeking monetary relief. The claims by
one officer have been settled. The claim by the other officer, in which he alleged
that he is entitled to at least $3 million from us arising from our acquisition of his
former company, remains unsettled. In addition, we understand that the two former
officers are partners in a business venture which may be competitive with us.

Our board of directors directed its audit committee to investigate the initial
allegations promptly after they were received. The audit committee, comprised
solely of independent directors, engaged separate legal and accounting advisors to
assist with the investigation. The audit committee completed the investigation and
reported its findings to our board of directors in the third quarter of this year. Based
on the results of the audit committee's investigation, our board of directors concluded
that there were no adjustments necessary to our financial statements, that there were
no indications of material deficiencies in our financial controls and that the facts did
not support the allegations concerning gross negligence or potential fraud.

In September and October 2002, the two former officers brought additional
information to the attention of the audit committee in respect of their prior
allegations regarding revenue recognition. A review of this additional information
was performed and, as a result of that review, our management believes that the
revenue_ recognition allegations remain unsubstantiated by the additional

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information, Our Management has preliminarily reviewed its findings with the audit
committee which in turn has directed management to review those findings with the
separate accounting advisors engaged by the audit committee to investigate the initial
allegations. Following such review, the audit committee will receive a report from
its separate accounting advisors and, if appropriate, will direct the separate
accounting advisors to conduct an additional inquiry and analysis. [Emphasis
added. ]

48. Following i2's statements that there was no merit to its former officers' assertions of
accounting fraud, i2's stock increased from $1.15 to $1.20 on November 15, 2002, an increase of
more than 14%.

49. However, on January 27, 2003, i2 announced that:

[T]he audit committee of its board of directors has engaged Deloitte & Touche LLP,
the Company's current external auditors, to re-audit the company's financial
statements for the years ended December 31, 2000 and 2001. This decision was
made at the recommendation of management based on recent information developed
during the audit committee's ongoing investigation of certain allegations regarding
the company's revenue recognition with respect to certain customer contracts and its
financial reporting for those years. This decision was also influenced by the
unavailability of Arthur Andersen LLP, the company's external auditor for those
years, to consider any restatement that might be necessary. Deloitte & Touche
replaced Arthur Andersen as the Company's external auditor in May 2002. The
company has notified the SEC of these allegations, and the staff has opened an
informal inquiry into these matter.

As material adjustments to the previously reported financial statements may_be

required, investors should not rely on the financial information contained in the

company's annual reports of Form 10-K for the years ended December 31, 2000 and
2001 or in the company's quarterly reports on Form 10-O for the quarters ended
March 31, 2000 through September 30, 2002 . While there can be no assurance, the
company is working towards a goal of having the re-audit of the 2000 and 2001
financial statements, as well as the audit of the 2002 financial statements, completed
to allow for the timely filing of the Company's 2002 annual report on Form 10-K.
[Emphasis added.]

50. 12's disclosure of possible improper revenue recognition caused i2's stock price to
drop sharply, falling $.34 cents, or 27%, to close at $.92 on January 27, 2003.

51. On March 31, 2003, i2 issued a press release stating that it:

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[W]ould delay filing its annual report on Form 10-K for the year ended December
31, 2002. The delay results from the Company's previously announced decision to
re-audit its financial statements for the years ended December 31, 2000 and 2001 as
well as the Company's recent determination to expand the re-audits to include its
financial statements for the year ended December 31. 1999.

 

While the re-audits have not been completed and i2 cannot be certain of their
eventual outcome with regard to amounts or periods affected, the Company currently

believes that material adjustments to its previously reported financial results will be
required. Accordingly, investors should not rely on the financial information

contained in the Company's annual reports on Form 10-K for the years ended
December 31, 1999, 2000 and 2001, in the Company's quarterly reports on Form 10-

Q for the quarters ended March 31, 1999 through September 30, 2002. or in the
Company's preliminary results for the fourth quarter of 2002. [Emphasis added.]

52. In that press release, i2 also informed the market that it was the "subject of a formal

investigation by" the SEC.

DEFENDANTS’ FINANCIAL STATEMENTS
DURING THE CLASS PERIOD WERE

MATERIALLY FALSE AND MISLEADING AND VIOLATED GAAP

53. At all relevant times during the Class Period, Defendants represented that i2’s
financial statements when issued were prepared in conformity with GAAP, which are recognized
by the accounting profession and the SEC as the uniform rules, conventions and procedures
necessary to define accepted accounting practice at a particular time. However, in order to
artificially inflate the price of i2’s stock, Defendants used improper accounting practices in violation
of GAAP and SEC reporting requirements to falsely inflate its balance sheet and to falsely report
income and expenses in the interim quarters and fiscal years during the Class Period.

54. i2's materially false and misleading Financial Statements resulted from a series of
deliberate senior management decisions designed to conceal the truth regarding i2’s actual operating
results. Specifically, as discussed in paragraphs 57-88, below, Defendants caused the Company to

violate GAAP because Defendants:

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(1) engaged in a series of improper practices in violation of GAAP that
caused i2 to recognize improperly hundreds of millions of dollars of
revenue; and

(ii) failed to properly account for hundreds of millions of dollars of
uncollectible receivables.

55. First, i2, in violation of GAAP, Defendants used a variety of means to improperly
recognize and report revenues:

(a) i2 improperly recognized revenue on the shipment of software that it knew
would require substantial time and cost to implement;

(b) i2 improperly recognized revenue on the shipment of software that it knew
would be returned or exchanged; and

c) i2 improperly recognized revenue prior to the expiration of the date by which
customers were permitted to return software.

56. Second, i2 failed to account or sufficiently reserve for hundreds of millions of dollars
of highly questionable or uncollectible receivables that were caused by the substantial problems i2
was having with its software installation and integration as described above.

Improper Revenue Recognition

57. GAAP, as described by FASB Statement of Concepts ("Concepts") No. 5, provides
that the recognition of revenue should occur only where two fundamental conditions are satisfied:
the revenue has been earned; and the amount is collectible. Concepts Statement No. 5, {{ 83-84.
Moreover, Concepts Statement No. 5 generally provides that revenues should not be recognized until
they are: (i) realized or realizable; and (ii) earned. Concepts Statement No. 5, { 83. These
conditions for revenue recognition ordinarily are met when assets or services are exchanged for cash
or claims to cash, and when the entity has substantially performed the obligations which entitle it

to the benefits represented by the revenue. Concepts Statement No. 5, 9 83. GAAP also provides

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that profit is deemed to be realized when the collection of the sales price is reasonably assured.
Accounting Principles Board ("APB") Opinion No. 10, q 12.

58. Similarly, the SEC's Staff Accounting Bulletin ("SAB") No. 101, which sets forth the
SEC Staff's views in applying GAAP to revenue recognition in financial statements, imposes the
same prerequisites to the recognition of revenues as does Concepts No. 5.

59. According to i2's Form 10-K for the fiscal year ended December 31, 2000, i2
"Revenues consist of software license revenues, Service revenues, and maintenance revenues, and
are recognized in accordance with Statement of Position (‘SOP’) 97-2, ‘Software Revenue
Recognition,’ as modified by SOP 98-9, ‘Modification of SOP 97-2, Software Revenue Recognition
with Respect to Certain Transactions,’ and SEC Staff Accounting Bulletin (SAB) 101, ‘Revenue
Recognition." However, in many instances, because of the complexity of the installation, the
software was not functional, and in some instances was never functional, and as a result was not
accepted by the customers. In circumstances, where the complexity of the installation would require
customer acceptance, i2 was precluded from recognizing the revenue until customer acceptance
occurred. Indeed, SOP 97-2 § 20 states, "[a]fter delivery, if uncertainty exists about customer
acceptance of the software, license revenue should not be recognized until acceptance occurs."

60. Asa seller of software based products and services, i2's transactions were subject to
the AICPA's SOP 97-2. SOP 97-2 permits the recognition of revenues from the sale of software
products only if the following criteria are met: (i) persuasive evidence of an arrangement exists; (ii)
delivery has occurred; (iii) the vendor's fee is fixed or determinable; and (iv) collectibility is
probable. SOP 97-2, § 8 (emphasis added). SOP 97-2 further provides that "any extended payment
terms in a software licensing agreement may indicate that the fee is not fixed and determinable."

SOP 97-2, { 28 (emphasis in original); see also SOP 97-2, {4 27, 29-30.

 

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61. As noted herein, in the years ending December 31, 1999, 2000 and 2001 and the
respective quarters therein, i2 improperly recorded and reported hundreds of millions of dollars in
revenues on sales to customers despite the fact that those customers were purchasing software based
upon 12's assertions of performance and completion of installation and that they would not pay i2
in full or in substantial part for the products until the software was properly installed and running.
Thus, the revenues from those sales were not fixed and determinable and were known to be at the
time recognized uncollectible, i.e. collectibility was not probable.

62. Throughout the Class Period, i2 improperly recorded revenues from software
licensing arrangements, and thus i2 violated GAAP in connection with its software contracts by
prematurely recognizing revenue on these and other transactions whereby there were still si gnificant
contingencies or yet-to-be-fulfilled obligations by the Company. SOP 97-2 requires that if the
software being licensed requires significant production, modification, or customization or any of the
above four criteria are not present the company may not recognize revenue from the software or
software system at the time of the transaction but instead must apply contract accounting. Where
the software transaction contains multiple-elements (i.e., software, upgrades/enhancements and/or
consulting services) SOP 97-2 provides guidance concerning when the software license component
may be considered a separate element and thus permit the company to recognize some revenue at
the time of the transaction. SOP 97-2 provides that when an arrangement contains multiple-elements,
the company must also assess whether the services being sold as part of the arrangement are
considered by the customer to be integral to the functionality of the software product license
component. If the company determines that the service component of the arrangement is integral
to the functionality of the software license component, the company must apply contract accounting.

Each of i2’s software products, as set forth above, involved “significant modification” to original

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software code as required by the specific contracts, and thus were governed by SOP 97-2 and SOP
81-1. i2's software regularly and routinely required complex installation and modification of the
database and in all instances should have used contract accounting as described in SOP 97-2 and 81-
1. Asa result, i2 was required to recognize revenue on a percentage-of completion-basis, rather
than when the software was delivered.

63. Generally for accounting purposes, product revenue is recognized immediately, while
revenue from services is recognized as the services are provided. Consistent with SOP 97-2, ina
transaction with software and service elements, revenue is recognized on the software only if the
software sale is separable from the sale of services and only after revenue attributable to the service
element is deducted. In a number of transactions, i2 improperly (i) separated product license sales
from service elements, and/or (ii) characterized revenue in multiple element transactions as product
or software revenue and recognized it at the time of the transaction. For example:

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71. Asaresult, not only were i2's revenues and earnings materially inflated throughout
the Class Period, but representations of conformance with SOP 97-2 and GAAP made by the
Company were materially false and misleading when made.

72. As a result of these materially fraudulent accounting practices and false public
statements, the price of i2's securities was artificially inflated and distorted throughout the Class

Period.

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73. In engaging in these practices, Defendants also caused i2 to violate the Company's
own internal revenue recognition policies, which, according to i2's Form 10-K for the fiscal year
ended December 31, 1999 and filed with the SEC on March 22, 2000, required that collection be
reasonably assured prior to recognition:

Our revenues consist of software license revenues, service revenues
and maintenance revenues. Software license revenues consist of sales

of software licenses which, for periods subsequent to December 31,
1997, are recognized in accordance with the American Institute of

Certified Public Accountants’ Statement of Position ("SOP") 97-2.
"Software Revenue Recognition." Under SOP 97-2, software license
revenues are recognized upon execution of a contract and delivery of
software, provided that the license fee is fixed and determinable, no
significant production, modification or customization of the software
is required and collection is considered probable by management.
[Emphasis added. ]
12, however, had not complied with SOP 97-2, instead recognizing revenue earlier than allowed
under GAAP.
Violations of SEC Regulations
74. Item 7 of the 2002 Form 10-K and Item 2 of Form 10-Q, Management's Discussion
and Analysis of Financial Condition and Results of Operations ("MD&A") requires the issuer to
furnish information required by Item 303 of Regulation S-K [17 C.F.R. 229.303]. In discussing
results of operations, Item 303 of Regulation S-K requires the registrant to:
[d]escribe any known trends or uncertainties that have had or that the registrant
reasonably expects will have a material favorable or unfavorable impact on net sales
or revenues or income from continuing operations.
The Instructions to Paragraph 303(a) further state:
The discussion and analysis shall focus specifically on material events and

uncertainties known to management that would cause reported financial information
not to be necessarily indicative of future operating results . . .

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75. In addition, the SEC, in its May 18, 1989 Interpretive Release No. 34-26831, has
indicated that registrants should employ the following two-step analysis in determining when a
known trend or uncertainty is required to be included in the MD&A disclosure pursuant to Item 303
of Regulation S-K:

A disclosure duty exists where a trend, demand, commitment, event or uncertainty

is both presently known to management and is reasonably likely to have a material

effect on the registrant's financial condition or results of operations.

76. The MD&A requirements are intended to provide, in one section of a filing, material
historical and prospective textual disclosure enabling investors and other users to assess the financial
condition and results of operations of the registrant, with particular emphasis on the registrant's
prospects for the future. As the Securities Act Release No. 6711 states:

The Commission has long recognized the need for a narrative explanation of the

financial statements, because a numerical presentation and brief accompanying

footnotes alone may be insufficient for an investor to judge the quality of earnings

and the likelihood that past performance is indicative of future performance. MD&A

is intended to give the investor an opportunity to look at the company through the

eyes of management by providing both a short and long-term analysis of the business

of the company .. .

77. ‘Sec. 229.303 (Item 303), Management's discussion and analysis of financial
condition and results of operations, states:

To the extent that the financial statements disclose material increases in net sales or

revenues, provide a narrative discussion of the extent to which such increases are

attributable to increases in prices or to increases in the volume or amount of goods

or services being sold or to the introduction of new products or services.

78. According to Securities Act Release No. 6349, n.5, at 964:

[i]t is the responsibility of management to identify and address those key variables

and other qualitative and quantitative factors which are peculiar to and necessary for

an understanding and evaluation of the individual company.

79. Nonetheless, i2's Class Period Forms 10-K and 10-Q failed to disclose that the

increases in revenues and earnings during the Class Period were the result of (I) improper revenue

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recognition policies and (ii) failure to properly account for uncollectible receivables, each of which
was reasonably likely to have a material effect on i2's operating results, which was necessary fora
proper understanding and evaluation of the Company's operating performance and an informed
investment decision.

Failure To Account For Uncollectible Receivables

 

80. 12's reported financial results were also materially false and misleading because they
failed to properly account for uncollectible receivables under GAAP, thereby materially inflating
the Company's reported assets and artificially bolstering its balance sheet. In the years ending
December 31, 1999, 2000 and 2001, Defendants caused i2 to report hundreds of millions of dollars

in accounts receivables as valuable and collectible assets of the Company:

 

 

 

Reporting Period Reported Reserve Total Reported = % of Total
BUSSOLA Provision for Assets too Cae
Receivables “Uncollectibles" AOU iy
December 31,1999 | $158 million $ 17.5 million $861 million 18.3%
December 31, 2000 | $298 million $31 million $739.241 40%
million
December 31, $140 million $50 million $538.218 26%
2001 million

 

 

 

 

 

 

 

81. | As demonstrated by the chart above, i2 reported nearly 158 million in account
receivables at the end of 1999 representing 18.3% of the Company's total reported assets; $300
million in accounts receivables at the end of 2000, representing 40% of the Company's total reported
assets; and in excess of $140 million in accounts receivables at the end of the 2001, representing
26% of the Company's total reported assets. As of March 22, 2000, the date of the Company's 1999
10-K, however, Defendants knew or recklessly disregarded, for the reasons set forth above, that at

least a significant portion of the Company's reported receivables existed as a result of the significant

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problems i2's customers were having in implementing and integrating i2's software products
particularized above. Thus, the accounts receivable were at serious risk of noncollectibility and that

the Company's reserves were correspondingly inadequate.

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84. Despite these facts, the Company's financial statements for 1999, 2000 and 2001
failed to reflect this risk of noncollectibility through reserves or charges against income as required
by GAAP. Instead, the Company's reported financial results for 2000 included a mere $31 million
"allowance for doubtful accounts." This allowance, which represented a mere 12% of 12's accounts
receivables for each reporting period, was grossly inadequate as it did not reflect the true level of
uncollectible receivables on the Company's books.

85. In this regard, Defendants caused the Company's financial statements during the
Class Period to reflect improperly a material overstatement of receivables and earnings and under-
reporting of reserves in contravention of the following provisions:

a. SFAS No. 5, ¥ 8, provides that an estimated loss from a loss contingency

"shall be accrued by a charge to income" if: (1) information available prior to issuance of the

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financial statements indicated that it is probable that an asset had been impaired or a liability had
been incurred at the date of the financial statements; and (ii) the amount of the loss can be
reasonably estimated.

b. The uncertainty that generally exists regarding the collectibility of receivables
constitutes a contingency within the meaning of SFAS No. 5, § 1. Consequently, estimated bad debt
expense must be accrued if it is material, probable, and can be reasonably estimated. The degree
to which receivables are impaired may be estimated on the basis of experience, analysis of
individual accounts, or reference to appropriate industry averages. The very process of selling on
credit, as Defendants did throughout the Class Period, implies that bad debt expenses are probable.

C. The requirement for the inclusion of a provision for noncollectible
receivables applies to interim financial statements, as indicated by APB Opinion No. 28, € 17,
Interim Financial Reporting:

The amounts of certain costs and expenses are frequently subjected

to year-end adjustments even though they can be reasonably

approximated at interim dates. To the extent possible such

adjustments should be estimated and the estimated costs and expenses

assigned to interim periods so that the interim periods bear a
reasonable portion of the anticipated annual amount. Examples of

 

such items include ... allowance for uncollectible accounts .
[Emphasis added. ]
d. According to Accounting Research Bulletin 43, Chapter 3, Section A, the

objective of providing for reserves against receivables is to assure that, "[a]ccounts receivable net
of allowances for uncollectible accounts . . . are effectively stated at the amount of cash estimated
as realizable."

86. Moreover, the SEC considers the disclosure of loss contingencies to be so important
to an informed investment decision that it promulgated Regulation S-X, which provides that

disclosures in interim period financial statements may be abbreviated and need not duplicate the

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disclosure contained in the most recent audited financial statements, except that, “where material
contingencies exist, disclosure of such matters shall be provided even though a significant change
since year end may not have occurred.” 17 C.F.R. § 210.10-01.

87. In addition, FASB Statement of Concepts No. 5 (“CONS”) states, “[a]n expense or
loss is recognized if it becomes evident that previously recognized future economic benefits of an
asset have been reduced or eliminated ... .”

88. Despite knowledge that each of the conditions prompting the need to take a charge
against income was existent prior to the close of the year 1999, Defendants knowingly or recklessly
permitted the Company's balance sheet to reflect $ 158 million in accounts receivables as valuable
and collectible assets -- and knowingly or recklessly permitted the Company's financial statements
to fail to reflect the write-down or write-off of these receivables -- when they were uncollectible in
whole or in substantial part.

MATERIALLY FALSE AND MISLEADING
STATEMENTS ISSUED DURING THE CLASS PERIOD

89. On March 22, 2000, the first day of the Class Period, i2 filed with the SEC and
disseminated to i2's shareholders the Company's Form 10-K reporting its audited results for the
fourth quarter of 1999 and the year ended December 31, 1999 (the "1999 Form 10-K").

a. The 1999 Form 10-K falsely stated that under GAAP, revenues for the fourth
quarter of 1999 were $571.1 million.

b. Among the assets falsely listed by the Company in the 1999 Form 10-K were
accounts receivable of approximately $ 157.6 million.

c. The notes to the financial statements in the 1999 Form 10-K falsely stated

that:

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Our revenues consist of software license revenues, service revenues and maintenance
revenues. Software license revenues consist of sales of software licenses which are
recognized in accordance with the American Institute of Certified Public
Accountants’ Statement of Position ("SOP") 97-2, "Software Revenue Recognition."
Under SOP 97-2, software license revenues are recognized upon execution of a
contract and delivery of software, provided that the license fee is fixed and
determinable, no significant production, modification or customization of the
software is required and collection is considered probable by management. As of
January 1, 1999, software license revenues are recognized n accordance with SOP
97-2, as modified by SOP 98-9, "Modification of SOP 97-2, Software Revenue
Recognition with Respect to Certain Transactions." Service revenues are primarily
derived from fees for implementation, consulting and training services and are
recognized as the services are performed. Maintenance revenues are derived from
customer support agreements generally entered into in connection with initial license
sales and subsequent renewals. Maintenance revenues are recognized ratably over
the term of the maintenance period. Payments for maintenance fees are generally
made in advance.

90. On April 18, 2000, i2 issued a press release announcing its financial and operational
results for the first quarter ended March 31, 2000. Defendants falsely stated that i2's revenues for
the first quarter of 2000 were $186 million, a 58% increase over first quarter 1999's revenue of $118
million.

91. The financial information contained in the 1999 Form 10-K and April 18, 2000 press
release were materially false and misleading as described in paragraphs 44-87, above, because
Defendants:

a. now admit that "the Company currently believes that material adjustments to
its previously reported financial results will be required. Accordingly, investors should not rely on
the financial information contained in the Company's annual reports on Form 10-K for the years
ended December 31, 1999, 2000, and 2001, in the Company's quarterly reports on Form 10-Q for
the quarters ended March 31, 1999 through September 30, 2002";

b. substantially overstated revenues by pulling a larger percentage of contract

revenues into the current quarter than allowed by SOP 97-2;

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c. substantially overstated account receivables by failing to particularize
shortfalls and bad debt allowances caused by the substantial problems with i2's software
implementation and integration.

92. On May 4, 2000, Defendants filed with the SEC and disseminated to i2's shareholders
the Company's 1999 Annual Report. The 1999 Annual Report contained a letter (the "1999 Annual
Report Letter") signed by Individual Defendants Sidhu and Brady which "explain[ed] why i2's
solutions, coupled with [the Company's] unbeaten track record of execution, constitute[d] the most
powerful, comprehensive platform for conducting business over the Internet." Importantly, the 1999
Annual Report Letter cited Nike as one of two examples of i2 customers who were purportedly using
and benefitting from i2's TradeMatrix software:

In addition, for the i2 customer that has already optimized its internal operations,

TradeMatrix leverages the customer's previous investment in solutions and enables

the company to operate much more effectively in an extended private marketplace.

Many of our customers -- like Sun Microsystems and Nike -- are using the
TradeMatrix platform to facilitate more efficient collaboration with their private

networks of suppliers. [Emphasis added.]

93.  Defendants' statement regarding Nike was materially false and misleading when
made. Even though this statement -- written in the present tense -- purported to describe Nike's then-
existing use of the TradeMatrix software, at the time the 1999 Annual Report was filed with the SEC
and disseminated to i2's shareholders, Nike was not using the software as described and had yet to
receive any benefit from i2 software as a result of the material, ongoing integration and
implementation problems and delays described in paragraphs 30-36 above which prevented the
software from going "live" at Nike until June 2000, well after the above-quoted statement was made.
Each of the Defendants had knowledge of these facts which were necessary to make Defendants'
statement complete and accurate when made or acted recklessly. Nonetheless, this statement

remained uncorrected by Defendants throughout the Class Period, leaving i2 investors with the

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materially false and misleading understanding that i2 software had been successfully implemented
at Nike and was purportedly benefitting Nike's operations when that was not true. Indeed, as set
forth below, senior i2 Vice President Terry Turner pointed to Nike again in December 2000, as a
customer that was purportedly benefitting from i2 software, when that was not true.

94. On May 15, 2000, i2 filed with the SEC its Quarterly Report on Form 10-Q and
repeated the materially false and misleading financial and operational results reported in the April
18, 2000 press release (the "May 2000 10-Q"). The May 2000 10-Q, signed by Individual
Defendants Beecher and Brigham, falsely stated that:

Our revenues consist of software license revenues, service revenues and maintenance
revenues. Software license revenues consist of sales of software licenses which are
recognized in accordance with the American Institute of Certified Public Accountants’
Statement of Position ("SOP") 97-2, "Software Revenue Recognition." Under SOP 97-2,
software license revenues are recognized upon execution of a contract and delivery of
software, provided that the license fee is fixed and determinable, no significant production,
modification or customization of the software is required and collection is considered
probable by management. As of January 1, 1999, software license revenues are recognized
n accordance with SOP 97-2, as modified by SOP 98-9, "Modification of SOP 97-2,
Software Revenue Recognition with Respect to Certain Transactions." Service revenues are
primarily derived from fees for implementation, consulting and training services and are
recognized as the services are performed. Maintenance revenues are derived from customer
support agreements generally entered into in connection with initial license sales and
subsequent renewals. Maintenance revenues are recognized ratably over the term of the
maintenance period. Payments for maintenance fees are generally made in advance.

95. The May 2000 10-Q also falsely stated that:

The accompanying unaudited condensed consolidated financial statements reflect all
adjustments (consisting only of normal recurring entries, except where noted) which, in the
opinion of management, are necessary for a fair presentation of the results for the interim
periods presented.

96. The financial information and statements regarding i2's accounting procedures

contained in the May 2000 Form 10-Q press release were materially false and misleading as

described in paragraphs 44-87, above, because Defendants:

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a. now admit that "the Company currently believes that material adjustments to
its previously reported financial results will be required. Accordingly, investors should not rely on
the financial information contained in the Company's annual reports on Form 10-K for the years
ended December 31, 1999, 2000, and 2001, in the Company's quarterly reports on Form 10-Q for
the quarters ended March 31, 1999 through September 30, 2002";

b. substantially overstated revenues by pulling a larger percentage of contract
revenues into the current quarter than allowed by SOP 97-2; and

c. substantially overstated account receivables by failing to particularize
shortfalls and bad debt allowances caused by the substantial problems with i2's software
implementation and integration.

97. On July 18, 2000, Defendants held a conference call with securities analysts and
investors to discuss the Company's second quarter 2000 performance. Individual Defendants Sidhu,
Brady and Beecher, among others from the Company, participated during the conference call on
behalf of the Company. During the conference call, defendant Brady falsely described i2's
TradeMatrix software as an "integrated solution" which purportedly differentiated TradeMatrix from
other software systems offered by i2's competitors which "struggled" with implementation issues
as a result of, inter alia, the limitations of their systems:

Our competitors in this space, ERP [Enterprise Resource Planning] companies and

small marketers alike will struggle with implementation issues and limitations of

their database-centric solutions and their inability to model the complex problems

required to deliver true value while integrating to the supply chain. The bottom line

is this -- i2 is the only company that offers an integrated solution... .

[Emphasis added.]

98. | On the same day, i2 issued a press release, in which Defendants falsely reported the

Company's financial and operational results for the second quarter ended June 30, 2000. For the

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quarter, Defendants reported revenues of $242.6 million, a 30% increase over the previous quarter
and 84% greater than total revenues of $131.9 million for the second quarter of 1999.
License revenues on a stand-alone basis for i2 grew 80 percent to $142.7 million, and
included $5.5 million of previously deferred subscription revenues from business-to-
business (B2B) marketplace announced last quarter. "Our growth rate accelerated
due to the further acceptance and adoption of TradeMatrix (TM) for Internet-enabled
marketplaces," commented Greg Brady, president of i2. "We are now involved in
over 90 public and private marketplaces. We're winning both individually and on the
strength of our partners, including IBM and Ariba. i2 booked license revenue from
25 marketplace-related transactions in the quarter, making up more than a third of
the customer contracts in the quarter and over two-thirds of license revenues in the
quarter."
99. The financial information contained in the July 18, 2000 press release was materially
false and misleading as described in paragraphs 44-87, above, because Defendants:

a. now admit that "the Company currently believes that material adjustments to
its previously reported financial results will be required. Accordingly, investors should not rely on
the financial information contained in the Company's annual reports on Form 10-K for the years
ended December 31, 1999, 2000, and 2001, in the Company's quarterly reports on Form 10-Q for
the quarters ended March 31, 1999 through September 30, 2002";

b. substantially overstated revenues by pulling a larger percentage of contract
revenues into the current quarter than allowed by SOP 97-2;

c. substantially overstated account receivables by failing to particularize
shortfalls and bad debt allowances caused by the substantial problems with i2's software
implementation and integration.

100. On August 14, 2000, i2 filed with the SEC its Quarterly Report on Form 10-Q and
repeated the materially false and misleading financial and operational results reported in the J uly 18,

2000 press release (the "August 2000 Form 10-Q"). The August 2000 Form 10-Q, signed by

Individual Defendants Beecher and Brigham, stated:

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Our revenues consist of software license revenues, service revenues and maintenance
revenues. Software license revenues consist of sales of software licenses which are
recognized in accordance with the American Institute of Certified Public
Accountants’ Statement of Position SOP 97-2 ("SOP 97-2"), "Software Revenue
Recognition," as modified by SOP 98-9. Under SOP 97-2, software license revenues
are recognized upon execution of a contract and delivery of software, provided that
the license fee is fixed and determinable, no significant production, modification or
customization of the software is required and collection is considered probable by
management. Service revenues are primarily derived from fees for implementation,
consulting and training services and are recognized as the services are performed.
Maintenance revenues are derived from customer support agreements generally
entered into in connection with initial license sales and subsequent renewals.
Maintenance revenues are recognized ratably over the term of the maintenance
period. Payments for maintenance fees are generally made in advance.

101. The August 2000 Form 10-Q further falsely stated that

The accompanying unaudited condensed consolidated financial statement reflect all

adjustments (consisting of only normal recurring entries, except where noted) which,

in the opinion of management, are necessary for a fair presentation of the results for

the interim periods presented.

102. The financial information and statements concerning i2's accounting practices
contained in the August 2000 Form 10-Q press release was materially false and misleading as
described in paragraphs 44-87, above, because Defendants:

a. now admit that "the Company currently believes that material adjustments to
its previously reported financial results will be required. Accordingly, investors should not rely on
the financial information contained in the Company's annual reports on Form 10-K for the years
ended December 31, 1999, 2000, and 2001, in the Company's quarterly reports on Form 10-Q for
the quarters ended March 31, 1999 through September 30, 2002";

b. substantially overstated revenues by pulling a larger percentage of contract

revenues into the current quarter than allowed by SOP 97-2;

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c. substantially overstated account receivables by failing to particularize
shortfalls and bad debt allowances caused by the substantial problems with i2's software
implementation and integration.

103. On October 10, 2000, Defendants held a financial and industry analyst meeting to
discuss the Company's products and performance. Individual Defendants Sidhu and Brady, among
others from the Company, participated during the meeting on behalf of the Company. During the
meeting, defendant Brady responded to reports of claims made by i2's competitors, SAP and Oracle
which raised questions about the Company's ability to integrate its software with the existing
computer systems of its customers. Brady falsely stated that i2's TradeMatrix software was a
planning tool that "for years" had been working with "any back-end transaction system:"

It's comical to me that SAP and Oracle make big issues out of integration. ... Ifyou
want to do multi-company planning and go after $750 billion, you have to have a

planning tool that can work with any back-end transaction system at the exact same

time, and that's what our solution has been doing for years. [Emphasis added. ]

104. On October 11, 2000, Defendants issued a press release announcing that Kmart had
licensed i2's TradeMatrix products "to dramatically transform its supply chain execution, improve
customer satisfaction and enhance sales and marketing." In the press release Defendants again
falsely described i2's TradeMatrix software as an "integrated" solution. The press release stated,
inter alia, that: "The integrated i2 solutions will increase electronic collaboration within Kmart and
between Kmart and its business partners." [Emphasis added.]

105. On October 17, 2000, Defendants held a conference call with securities analysts and
investors to discuss the Company's third quarter 2000 performance. Defendants Sidhu, Brady and
Beecher, among others from the Company, participated during the conference call on behalf of the

Company. During the conference call, defendant Brady described the integration capabilities of i2's

TradeMatrix software as the "right solutions" for companies and falsely described the software's

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Date Shares Price Proceeds
9/10/2001 6,456 | $ 5.62 | $ 36,305.32
9/7/2001 12,912 | $ 5.54 | $ 71,528.61
9/7/2001 12,912 | $ 5.60 | $ 72,311.07
9/7/2001 12,912 |$ 5.54 | $ 71,528.61
9/7/2001 12,912 |$ 5.60 | $ 72,311.07
9/7/2001 6,477 | $ 5.54 | $ 35,880.64
9/7/2001 6,456 | $ 5.60 | $ 36,155.54
9/7/2001 6,456 | $ 5.54 |$ 35,764.30
9/7/2001 6,456 | $ 5.60 | $ 36,155.54
9/6/2001 12,912 |$ 5.60 | $ 65,356.67
9/6/2001 12,912 | $ 5.16 | $ 66,663.36
9/6/2001 12,912 | $ 5.06 | $ 65,356.67
9/6/2001 12,912 | $ 5.16 |$ 66,663.36
9/6/2001 6,477 | $ 5.06 | $ 32,784.63
9/6/2001 6,456 | $ 5.16 |$ 33,331.68
9/6/2001 6,456 | $ 5.06 | $ 32,678.34
9/6/2001 6,456 | $ 5.16 | $ 33,331.68
9/5/2001 12,912 | $ 5.84 |$ 75,457.73
9/5/2001 12,912 | $ 6.39 |$ 82,543.83
9/5/2001 12,912 | $ 5.84 |1$ 75,457.73
9/5/2001 12,912 | $ 6.39 | $ 82,543.83
9/5/2001 6,456 | $ 5.84 | $ 37,728.86
9/5/2001 6,456 | $ 6.39 |$ 41,271.92
9/5/2001 6,456 | $ 5.84 | $ 37,728.86
9/5/2001 6,456 | $ 6.39 | $ 41,271.92
9/4/2001 12,912 | $ 6.72 1$ 86,720.87

 

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integration capabilities as being more beneficial than the capabilities offered by SAP, a competing
software vendor:

[SAP] can make an issue out of integration to the ERP system. But, honestly, the

integration requirements are changing. We rarely see companies with any and all of

their data in one ERP system so the capabilities that i2 have offered around

integration are really the right solutions for companies to employ. [Emphasis added. ]

106. Defendants’ statements in paragraphs 103-05, above, were materially false and
misleading when made. Despite Defendants’ repeated claims -- that the Company's software offered
a unique, "integration solution" which worked with "any back-end transaction system" and offered
"standard integration" to existing computer systems -- i2's software, as set forth in paragraphs 20-43
above, was not an integrated package, but a series of software application programs which had to
be individually integrated both with each other and with existing customer software systems in
complex and time-consuming manual procedures in order to achieve any of its promised
interoperablity. Defendants were each well aware of or recklessly disregarded these facts, disclosure
of which was necessary to make Defendants’ repeated statements complete and accurate when made.
Only after i2's major integration and implementation problems were disclosed by Nike, did
Defendants begin to disclose that integration of the Company's software products could be
"complex, time-consuming and expensive" as well as unsuccessful. Moreover, as set forth in 20-44
above, as of the time of Defendants' above-quoted statements, i2 had already experienced material,
ongoing problems with the integration of i2's TradeMatrix software with numerous customers,
including, most importantly, Nike. Defendants knowingly or recklessly failed to disclose such
material, adverse results in connection with their above-quoted statements.

107. On October 17, 2000, i2 issued a press release falsely reporting its financial and

operational results for the third quarter ended September 30, 2000. For the quarter, the Company

reported revenues of $319.5 million, which were 32 percent higher than the second quarter 2000

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revenues of $242.6 million and 118 percent greater than revenues of $146.3 million for the third
quarter of 1999,

108. On November 13, 2000, i2 filed with the SEC its Quarterly Report on Form 10-Q and
repeated the materially false and misleading financial and operational results reported in the
October 17, 2000 press release. The November 2000 Form 10-Q, signed by Defendants Beecher
and Brigham, also falsely stated:

Our revenues consist of software license revenues, service revenues and maintenance
revenues. Software license revenues consist of sales of software licenses, which are
recognized in accordance with the American Institute of Certified Public
Accountants’ Statement of Position SOP 97-2 ("SOP 97-2"), "Software Revenue
Recognition," as modified by SOP 98-9. Under SOP 97-2, software license revenues
are recognized upon execution of a contract and delivery of software, provided that
the license fee is not refundable or subject to forfeiture, no significant production,
modification or customization of the software is required and collection is considered
probably by management. Subscriptions to access our Content databases are
generally recognized ratably over the tem of the subscription period. Service
revenues are primarily derived from fees for implementation, consulting and training
services and are recognized as the services are performed. Maintenance revenues are
derived from customer support agreements generally entered into in connection with
initial license sales and subsequent renewals. Maintenance revenues are recognized
ratably over the term of the maintenance period. Payment for maintenance fees are
generally made in advance.

109. In addition the November 2000 Form 10-Q further stated:
The accompanying unaudited interim consolidated financial statements have been

prepared in accordance with the rules and regulations of the Securities and Exchange
Commission ("SEC"). ...

In the opinion of management, all adjustments (consisting only of normal recurring
entries, except where noted) necessary for a fair presentation f the financial position,

results of operations and cash flows for the interim periods presented have been
made. [Emphasis added.]

110. The financial information contained in the October 17, 2000 press release and

November 2000 Form 10-Q as well as the statements regarding i2's accounting policies and practices

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in the November 2000 Form 10-Q were materially false and misleading as described in paragraphs
44-87 above because Defendants:

a. now admit that "the Company currently believes that material adjustments to
its previously reported financial results will be required. Accordingly, investors should not rely on
the financial information contained in the Company's annual reports on Form 10-K for the years
ended December 31, 1999, 2000, and 2001, in the Company's quarterly reports on Form 10-Q for
the quarters ended March 31, 1999 through September 30, 2002";

b. substantially overstated revenues by pulling a larger percentage of contract
revenues into the current quarter than allowed by SOP 97-2;

C. substantially overstated account receivables by failing to particularize
shortfalls and bad debt allowances caused by the substantial problems with i2's software
implementation and integration.

111. On October 23, 2000, defendant Sidhu was quoted in the Business Times as follows:

Oracle misses the point, in that integration doesn't require that all the application

comes from the same vendor. The market is demanding open integration. And i2

is a clear leader in this field because we have had a small solution: we offer standard

integration to Oracle. SAP, JD Edwards, a variety of other systems. [Emphasis

added.]

112. Defendant Sidhu's statements quoted in the October 23, 2000 Business Times article
were materially false and misleading when made. Despite Defendants' repeated claims -- that the
Company's software offered a unique, "integration solution" which worked with "any back-end
transaction system" and offered "standard integration" to existing computer systems -- i2's software,
as set forth in paragraphs 20-43 above, was not an integrated package, but a series of software

application programs which had to be individually integrated both with each other and with existing

customer software systems in complex and time-consuming manual procedures in order to achieve

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any of its promised interoperablity. Defendants were each well aware of or recklessly disregarded
these facts, disclosure of which was necessary to make Defendants' repeated statements complete
and accurate when made. Only after i2's major integration and implementation problems were
disclosed by Nike, did Defendants begin to disclose that integration of the Company's software
products could be "complex, time-consuming and expensive" as well as unsuccessful. Moreover,
as set forth in 20-44 above, as of the time of Defendants’ above-quoted statements, i2 had already
experienced material, ongoing problems with the integration of i2's TradeMatrix software with
numerous customers, including, most importantly, Nike. Defendants knowingly or recklessly failed
to disclose such material, adverse results in connection with their above-quoted statements.

113. Onorabout December 4, 2000, Terry Turner, i2's Consumer Goods & Retail Group
senior Vice President, participated in a panel held by the American Apparel and Footwear
Association at its annual Outlook Seminar. By the time of this seminar, as described in paragraphs
20-43 above, i2 had already experienced material, ongoing problems with the Nike software
implementation which had resulted in severe consequences for Nike. Nonetheless, as reported by
Footwear News on December 11, 2000, Turner publicly discussed the i2-Nike relationship at that
time in a highly positive light without disclosing any of the implementation difficulties and adverse
results experienced by Nike necessary to make Turner's statements on behalf of the Company
complete and accurate when made. Among other things, Turner stated that footwear retailers and
executives must embrace technology to promote efficiency and enhance customer service within
their businesses. With regard to Nike, which Turner described as one of the i2 clients he was
personally responsible for, Turner stated that Nike realized that it was stocking the wrong shoe sizes
and styles in certain cities and that i2's software was being used by Nike to address such issues:

"People wanted lighter color and smaller sizes in Miami and darker colors and larger sizes in

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Madison." Turner further stated: "You have to think about your customer base. ... The magic lies
in analyzing things quickly and getting your whole team to understand the value of speed in
satisfying customers." According to Turner, technology offered by i2 would help companies quickly
process orders and streamline inventory control, allowing companies to return to their main goal,
pleasing customers: "They want the right design and assortment, convenient and friendly customer
service and the right price compared to quality and the competition.” In direct contrast to these
statements, the material, undisclosed problems then being caused by i2's software integration
problems with Nike resulted in Nike's ordering millions of dollars of poorly selling shoe models and
insufficient amounts of models in high customer demand. These omitted facts, which Turner was
well aware of given his position in the Company and direct responsibility for i2's Nike account,
rendered Turner's statements on behalf of the Company materially incomplete, false and misleading
when made. Indeed, at the time of Turner's statements, the Company had already been informed
about the material errors its software had caused in Nike's operations and Nike and i2 were
attempting to build operational "workarounds" to correct the problems.

114. Following Turner's statements, on or about December 18, 2000, an article appearing

 

in Fortune magazine described i2 stock as "ready to run" and specifically referred to i2's relationship
with Nike as an example of i2's purported success. The Fortune article reflected the market's
material misunderstanding of the i2-Nike relationship caused by Defendants’ repeated, false

statements representing that i2's software was purportedly benefitting Nike. Fortune reported: "i2

 

makes supply-chain management software and other applications. . . . [i]ts software, for example,
helps Nike's footwear and apparel units communicate."
115, On January 16, 2001, Defendants issued a press release announcing the availability

of a new suite of TradeMatrix products. The press release stated as follows:

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i2's enhanced solutions streamline how companies do business with their customers
suppliers and supply chain partners, creating significant measurable value.

 

 

i2 Technologies Inc., the leading provider of supply chain and marketplace solutions,

today announced the availability of an entire suite of solutions designed to optimize

each phase of supply chain to transform the way companies do business in the new

economy. The solutions enable companies to streamline and transform all key

business processes in their value chain -- including customer relationship
management, supply chain management and supplier relationship management. i2's
collaborative solution suites are supported by the i2 TradeMatrix Platform (TM),

which integrates the solutions and provides transaction automation. [Emphasis

added. ]

116. On January 17, 2001, Defendants held a conference call with securities analysts and
investors to discuss the Company's fourth quarter 2000 performance. Individual Defendants Sidhu,
Brady and Beecher, among others from the Company, participated during the conference call on
behalf of the Company. During the conference call, defendant Brady (once again) falsely described
TradeMatrix's purported ability to integrate with customers’ back-end computer systems by stating:
“clearly we've proven our ability to implement with just about every architecture in the market place
today." (Emphasis added.) Brady went on to state:

Today [TradeMatrix is] far in a way the most complete and proven solution in the

marketplace. It is integrated to every known architecture available today and this is

clearly a huge competitive advantage for us. The ability to integrate to any

backbone. This is different that some of our competitors who are really limited only

to their transaction solutions. [Emphasis added.]

117. Each of Defendants' statements quoted in paragraphs 111-116, above were materially
false and misleading when made. As set forth in paragraphs 20-43, above, TradeMatrix software
does not offer an integrated software solution, but a series of software application programs which
must be individuaily integrated both with each other and with existing customer software systems
in complex and time-consuming manual procedures in order to achieve any interoperablity.

Defendants were each well aware of or recklessly disregarded these facts disclosure of which was

necessary to make Defendants' above-quoted statements complete and accurate when made. Only

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after i2's major integration and implementation problems were disclosed by Nike, did Defendants
begin to disclose that integration of the Company's software products could be "complex, time-
consuming and expensive" as well as unsuccessful. Moreover, as set forth in 20-44 above, as of the
time of Defendants’ above-quoted statements, i2 had already experienced material, ongoing
problems with the integration of i2's TradeMatrix software with numerous customers, including,
most importantly, Nike. Defendants knowingly or recklessly failed to disclose such material,
adverse results in connection with their statements which were necessary to make the statements
complete and accurate when made.

118. On January 8, 2001, i2 issued a press release falsely stating that its "fourth quarter
2000 results are expected to exceed analysts’ consensus estimates for revenues and earnings." The
press release stated:

While the Company is still completing its review of results for the quarter,

preliminary expectations are to report fourth quarter revenues in excess of $370
million compared to consensus analyst estimates of $342 million, and bringing full-

year 2000 revenues to over $1.1 billion. Management expects to report that license

revenues for the fourth quarter and full year 2000 more than doubled over the same
periods in 1999, due to strong sales of i2's leading e-business solutions. The

Company also expect to report that operating income, excluding amortization of
intangibles and non-recurring charges, strongly exceeded analvsts' consensus

estimates of $51 million. [Emphasis added.]

119. On January 17, 2001, i2 issued a press release reporting its financial and operational
results for the fourth quarter and year-ended December 31, 2000. The press release stated:

The company almost doubled last year's revenues, increasing 97 percent year-over-
year, becoming one of the world's largest software companies. with revenues of more
than $1.1 billion in 2000. Total quarterly revenues of $378 million were the largest
ever reported by i2, growing 116% over 1999 fourth quarter revenues of $175
million.

* OR OR

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"As_proud as I am of our revenue results and achieving the $1 billion dollar
milestone, I'm prouder still of the enormous value we are helping our customers
create," said Sanjiv Sidhu, chairman and CEO of i2.

 

2K

"Full year revenues shattered the $1 billion goal we set for year 2000 during our IPO

in early 1996, when our annual revenues were less than $50 million," said Sidhu. "A

combination of strong sales, superior execution, and key acquisitions such as Aspect

Development, significant accelerated our revenue growth for the year to 97 percent,

from 55 percent growth last year." License revenues more than doubled in 2000.
growing 101 percent over 1999. [Emphasis added.]

120. The financial information contained in the January 8 and January 17, 2001 press
releases was materially false and misleading as described in paragraphs 44-87, above, because
Defendants:

a. now admit that "the Company currently believes that material adjustments to
its previously reported financial results will be required. Accordingly, investors should not rely on
the financial information contained in the Company's annual reports on Form 10-K for the years
ended December 31, 1999, 2000, and 2001, in the Company's quarterly reports on Form 10-Q for
the quarters ended March 31, 1999 through September 30, 2002";

b. substantially overstated revenues by pulling a larger percentage of contract
revenues into the current quarter than allowed by SOP 97-2;

c. substantially overstated account receivables by failing to particularize
shortfalls and bad debt allowances caused by the substantial problems with i2's software
implementation and integration.

121. On February 26, 2001, after the close of the market, the true problems with i2's
software began to emerge to the public when Nike issued a press release materially reducing its third
quarter 2001 earnings estimate from a previously stated $0.50-$0.55 per share to an expected $0.34-

$0.38 per share because of "complications arising from the impact of implementing new demand and

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supply planning systems and processes which resulted in product shortages and excesses as well as
late deliveries." Nike also held a conference call on February 26, 2001, during which it explained
the extent of its material problems. During the conference call, Donald Blair, Nike's Chief Financial
Officer, stated:

As you know, earlier today we announced that for the third quarter ending February
29,2001, we expect to earn between $0.34 and $0.38 per share versus the previously
stated guidance of $0.50 and $0.55 a share. ... What we did not anticipate was the
additional shortfall resulting from the disruption of our global footwear supply chain
caused by a series of events surrounding the implementation of new demand and
supply planning systems and processes. These supply chain issues resulted in
significant amounts of excess inventory of some footwear models, while other
models have been in short supply or delivered late. As a result, our third quarter
revenues will be down significantly and our margins will suffer from the high
discounts and air freight costs necessary to move the excess inventory through our
system. Although we believe we've resolved most of the issues for the Fall of 2001
season which begins shipping in May, it will likely take us 6 to 9 months for the full
effect of the Spring 2001 issues to work their way through our system.

Blair went on to state:

Last year we implemented these new demand planning systems and some attendant
changes in process for the global footwear sourcing and initially the software did not
perform as we expected and that made it very difficult for us to manage the global
buy. And most of that impact has actually fallen into the U.S. because the U.S.
operates on tighter time lines than the rest of the world. So disruptions in the supply
chain tend to have the most severe impact on the U.S. The implications of the issues
were that first of all we had excess product which meant that, as you know the
ordering that we do before we have concrete future orders, we did some over-
ordering and so we had excess product. In addition, we had some models that had
been ordered by customers that we did not place the order on a timely basis with the
factory so we had shortage of the product or delays of product which results in lost
sales and potentially the need to do some discounting to hold onto that business.
And finally, we did have some air freight charges that are required to bring the
product and to try to meet what deliveries we could. So that's really what the
implications have been of the supply chain issues. As far as timing on how that gets
resolved, the major issue in the short term has been the shortages. The biggest
impact of the P&L is the losses of revenue and the losses of margin for product that
we actually can't deliver. Over a longer period of time, we obviously will need to
liquidate our inventory position.

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122. On February 27, 2001, defendant Sidhu appeared on CNN to respond to questions
about Nike's disclosure. Among other things, Sidhu acknowledged that Nike was a "very important"
customer of i2; "the implementation wasn't done well"; "the fault for that is not Nike, it is i2's"; and
that i2 had been "quite familiar with the issues.". An i2 spokesperson was also quoted by
Computerworld on February 27, 2001 as stating that it was "a complex and challenging job to get
the system implemented at Nike."

123. Nike's disclosure immediately caused the price of i2 stock to decline. i2 stock opened
on February 27, 2001, the first trading day after Nike's announcement and Defendants’ response, at
$30.19 per share, from a previous close of $35.50 per share on February 26, 2001. By the end of
the day, the price of i2 common stock closed at $27.56 per share, down approximately $8 per share,
or 22%, from the previous day's closing price of $35.50 per share. Despite the Nike disclosures,
however, Defendants continued to violate GAAP.

124. On February 28, 2001, analyst firm Epoch Partners Research issued a research report
on i2 which stated that Nike's disclosure of its problems with i2 software might adversely affect the
Company's future performance as it might "lengthen the sales cycles for i2 as would-be customers
digest the news and ask more questions." Similarly, analyst firm C.E. Unterberg, Towbin issued a
research report on i2 which stated that "the Nike situation may lengthen sales cycles for any large
deals."

125. OnMarch 9, 2001, an article entitled "Beyond Nike: i2's Software Promises Are Hard
to Keep," appearing on TheStreet.com, reported that in addition to Nike, i2 had encountered other
serious implementation and integration problems:

According to analysts and other customers of i2, other problems have occurred in the

past, and are likely to crop up again, because of the Company's practice of over
promising results from complex software that's hard to get right in the first place.

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"It's our belief that [Nike] is another data point where i2 has aggressively sold, but
has not delivered equally aggressively," says Lora Cecera also an analyst at Gartner.
"They're setting [customers'] expectations without a grounding in how long this is
going to take, and what important steps need to be done along the way."

* * *

"You can promise a lot of things in a PowerPoint presentation, but it's different to
deliver on that promise," said a systems manager at [a global technology company
that chose i2's software and subsequently had "a disappointing experience" with it],
who asked that he and his company remain anonymous. "We had three or four major
requirements that they could not meet at the time, but said they would be able to do
for us. We have not had that delivered for us yet."

Because of those problems, the firm has decided to put off its i2 implementation so
that it can get other systems in place.

"What we're finding is that we have to go back and separate our ERP [business

software] system from i2, because it's slowing us down. It's been 4 % years now, and
it's been a problem," the manager said.

* * *

"The problem is that they oversimplify the install process. It's very complex and
time-consuming, and people need to realize that," said the manager [of another
company], who also spoke on the condition of anonymity.

The article also noted that the price of i2 common stock was down 39.6% since news "broke
about" the Nike situation.

126. On March 20, 2001, analyst firm Josephthal & Co. Inc. issued a research report
concerning i2 which stated that in addition to Nike, there were "other concerns raised surrounding
the implementation at Compaq."

127. On March 29, 2001, i2 filed with the SEC its Annual Report on Form 10-K and

reiterated the financial and operational results reported in the January 8 and 17, 2001 press releases.

The 2000 Form 10-K, signed by Individual Defendants Sidhu, Beecher and Brigham, stated:

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Revenues consist of software license revenues, service revenues, and maintenance
revenues, and are recognized inn accordance with Statement of Position (SOP) 97-2,
"Software Revenue Recognition," as modified by SOP 98-9, "Modification of SOP
97-2, Software Revenue Recognition with Respect to Certain Transactions," and
SEC Staff Accounting Bulletin (SAB) 101, "Revenue Recognition."

Software license revenues are recognized upon shipment, provided fees are fixed and
determinable and collection is probable. Revenue for agreements that include one
or more elements to be delivered at a future date is recognized using the residual
method. Under the residual method, the fair value of the undelivered elements is
deferred, and the remaining portion of the agreement fee is recognized as revenue.
If fair values have not been established for certain undelivered elements, revenue is
deferred until those elements have been delivered, or their fair values have been
determined. Agreements that include a right to unspecified future elements are
recognized ratably over the term of the agreement. License fees from reseller
agreements are generally based on the sublicenses granted by the reseller and
recognized when the license is sold to the end customer. Licenses to our content
databases are recognized over the terms of the agreements. Fees from licenses sold
together with services are generally recognized upon shipment, provided fees are
fixed and determinable, collection is probable, payment of the license fee is not
dependent upon the performance of the consulting services and the consulting
services are not essential to the functionality of the licensed software.

Service revenues are primarily derived from fees for implementation, consulting and
training services and are generally recognized under service agreements in
connection with initial license sales and as the services are performed.

Maintenance revenues are derived from technical support and software updates
provided to customers. Maintenance revenue is recognized ratably over the term of

the maintenance agreement.

Payments received in advance of revenue recognized are classified as deferred
revenue in the Consolidated Balance Sheets.

128. The financial information and statements regarding i2's accounting policies and
practices contained in the 2000 Form 10-K were materially false and misleading as described in
paragraphs 44-87, above, because Defendants:

a. now admit that "the Company currently believes that material adjustments to
its previously reported financial results will be required. Accordingly, investors should not rely on

the financial information contained in the Company's annual reports on Form 10-K for the years

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ended December 31, 1999, 2000, and 2001, in the Company's quarterly reports on Form 10-Q for
the quarters ended March 31, 1999 through September 30, 2002";

b. substantially overstated revenues by pulling a larger percentage of contract
revenues into the current quarter than allowed by SOP 97-2;

c. substantially overstated account receivables by failing to particularize
shortfalls and bad debt allowances caused by the substantial problems with i2's software
implementation and integration.

129. On April 18, 2001, i2 reported its financial and operational results for the quarter
ended March 31, 2001. For the quarter, the Company reported that total revenues grew 91 percent
to $357 million from $186 million in 2000. Defendant Sidhu commented on the Company's
financial performance, stating, in pertinent part, as follows:

i2 performed well this quarter despite the beginning of a down cycle in the economy

.... In this slowing economy, where companies are more focused on bottom-line

results and profitability, our customers are realizing the value and efficiencies i2

solutions can create for themselves and their trading partners.

130. On April 2, 2001, Defendants issued a press release announcing that i2's earnings for
the first quarter of 2001 would be well below analysts’ consensus expectations and that the Company
planned to reduce its earnings estimates for the remainder of 2001 and eliminate ten percent of its
workforce. According to the press release, the Company expected to report earnings of only $0.02
per share for the first quarter of 2001 as compared to consensus expectations of $0.06 per share.
Among other things, the press release quoted defendant Sidhu as stating that "some of [i2's]
customers are delaying purchasing decisions." While Defendants also sought to blame a poor
economy for i2's sudden downturn, just four months earlier, defendant Sidhu was quoted in the

Company's January 17, 2001 earnings press release stating that he did not expect i2's products to be

adversely affected by any slowdown in the economy. At that time, Sidhu stated: "We clearly

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haven't seen a slowdown in our business so far, and we expect that our value proposition — high ROI
(return on investment) and quick payback — positions us as a strategic investment to improve
competitiveness even during slower economic growth." Similarly, defendant Beecher was quoted
by Bloomberg News on January 18, 2001 as stating: "We are also very effective ina down economy
because our value proposition improves the profitability of our customers."

131. Following Defendants' April 2, 2001 announcement, the price of i2 common stock
closed at $13.50 per share on April 3, 2001, a new low closing price for the year, down
approximately $2.00 per share, or 13%, from the closing price of $15.43 on April 2, 2001.

132. Thereafter, on April 18, 2001, Defendants held a conference call with securities
analysts and investors to discuss the Company's first quarter 2001 performance. During the call,
defendant Sidhu announced that the Company expected to report pro forma losses for both the
second and third quarters of 2001, representing the first time since the Company went public that
it expected to report losses.

133. On April 19,2001 analyst firm US Bancorp Piper issued a research report concerning
i2 which stated: "The number of deals closed per productive rep [at i2] is one-half of historic levels
with little improvement in sight." Also, on April 19, 2001, analyst firm First Union Securities, Inc.
issued a report stating that "an increasing number of [potential i2] customers tend to choose other
solutions [from i2's competitors] when initiating more in depth software evaluations such as loading
actual customer data for trial runs" and that "an increasing number of potential [i2] customers appear
to be looking beyond the [Company's] sales pitch."

134. On May 3, 2001, analyst firm ABM AMRO Inc. issued a research report on i2 stating
that the price of i2 common stock continued to be adversely impacted by "certain customers’

concerns, such as Nike and Kmart."

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135. On May 14, 2001, the Industry Standard.com also reported that Kmart was having
problems with i2's software products. The Industry Standard quoted Karen Peterson of the Gartner
Group as stating: "The [i2] sales people make bold promises that their software doesn't always live
up to."

136. Also on May 14, 2001, analyst firm Southwest Securities, Inc. issued a research
report on i2 which stated that a number of i2 customers had started to express dissatisfaction with
i2's software products including Nike, Kmart, Motorola, Seagate and Polo and that raised questions
about the Company's overall value. The report further stated: "Historically, companies have selected
i2 for its grand vision and market presence -- today, companies are looking for software vendors
with proven value propositions (i.e., quick time-to-value). Based on customers and [system
integrators] we've interviewed, we are not convinced i2 fits this profile."

137. OnJune 1, 2001, Computer Reseller News reported that i2 was attempting to simplify
the implementation process for its software.

138. On July 3, 2001, Defendants issued a press release warning that, as a result of poor
demand for the Company's software products, i2's second quarter results were expected to be below
analysts' already reduced expectations and that the Company expected to report a loss of $2.10 to
$2.12 per share for the quarter, or $0.12 per share excluding certain one-time items such as
restructuring and bad debt charges.

139. Following Defendants' press release, analyst firm Josephthal & Co. Inc. issued a
research report on i2 noting that the Company's license revenue was at least 25% below reduced
consensus expectations and that concerns about i2's recent implementation problems remained.
Similarly, analyst firm Southwest Securities, Inc. issued a research report on i2 following

Defendants’ July 3, 2001 press release stating its belief that much of the Company's bad debt charges

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concerned failed software applications that were booked and never successfully deployed. The
Southwest Securities report also noted that a number of i2's customers were expressing
dissatisfaction with i2's solutions, which was bringing the Company's market value into question as
well as adversely affecting its existing industry partnerships.

140. On July 25, 2001, an i2 spokesperson disclosed that i2 was firing 10 percent of its
staff, or approximately 587 workers, to reduce costs. Immediately after this disclosure, Analyst
Bradley Whitt of Southwest Securities, Inc. was quoted by Bloomberg as stating that i2's latest
firings were another negative sign for investors: "If you're cutting your sales force, then you've got
to believe your revenues are going to continue to decline."

141. 2 common stock closed at $8.60 per share on July 25, 2001, a decline of more than
90% from the Class Period high closing price of i2 stock on September 28, 2000, and a decline of
more than 75% from the closing price of i2 common stock on February 26, 2001, the closing price
of i2 common stock immediately before Nike's announcement.

142. On May 4, 2001, i2 filed with the SEC its Quarterly Report on Form 10-Q and
reiterated the financial and operational results reported on April 18,2001. The May 2001 Form 10-
Q, signed by Defendants Beecher and Brigham, provided the following disclosure with respect to
i2's "revenue recognition" accounting policies and practices:

Revenues consist of software license revenues, service revenues, and maintenance

revenues, and are recognized with Statement of Position (SOP) 97-2, "Software

Revenue Recognition,” as modified by SOP 98-9, "Modification of SOP 97-2,

Software Revenue Recognition with Respect to Certain Transactions," and SEC Staff

Accounting Bulletin (SAB) 101, "Revenue Recognition."

Software licensee revenues are recognized upon shipment, provided fees are fixed

and determinable and collection is probable. Revenue for agreements that include

one or more elements to be delivered at a future date is recognized using the residual

method. Under the residual method, the fair value of the undelivered elements is

deferred, and the remaining portion of the agreement fee is recognized as license
revenue. If fair values have not been established for certain undelivered elements,

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revenue is deferred until those elements have been delivered, or their fair values have
been determined. Agreements that include a right to unspecified future elements are
recognized ratably over the term of the agreement. License fees from reseller
agreements are generally based on the sublicenses granted by the reseller and
recognized when the license is sold to the end customer. Licenses to our content
databases are recognized over the term of the agreements. Fees from licenses sold
together with services are generally recognized upon shipment, provided fees are
fixed and determinable, collection is probable, payment of the license fee is not
dependent upon the performance of the consulting services and the consulting
services are not essential to the functionality of the licensed software.

Service revenues are primarily derived from fees for implementation, consulting and
training services and are generally recognized as the services are performed under
service agreements in connection with initial license sales.

Maintenance revenues are derived from technical support and software updates
provided to customers. Maintenance revenue is recognized ratably over the term of
the maintenance agreement, generally one year.

Payments received in advance of revenue recognized are classified as deferred
revenue in the Consolidated Balance Sheets.

143. The May 2001 Form 10-Q further stated:

The accompanying condensed consolidated financial statements have been prepared
without audit and reflect all adjustments that, in the opinion of management, are
necessary to present fairly our financial position at March 31, 2001, and our results
of operations and cash flows for the periods presented.

144. On July 18, 2001, i2 issued a press release reporting its financial and operational
results for the quarter ended June 30, 2001. The press release stated, in pertinent part, as follows:

Total revenues were $241 million, including license revenues of $106 million,
compared to total revenues of $243 million, including license revenues of $150
million in the same period a year ago. Financial results for the second quarter of
2000 include the results of operations of Aspect Development from the date of
acquisition, June 9, 2000.

Greg Brady, chief executive officer of i2 [stated]. "We are the market leader — we
have the best solutions, the best customers, a great track record, the best team and the
vision to win. We are focused on executing and positioning i2 for success in the
future, such that we make the most of our opportunities when market conditions
eventually improve."

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145.

On August 14, 2001, i2 filed with the SEC its Quarterly Report on Form 10-Q and

reiterated the financial and operational results reported in the July 18, 2001 press release. The

August 2001 10-Q, signed by Individual Defendants Beecher and Brigham, stated:

Revenues consist of software license revenues, service revenues, and maintenance
revenues, and are recognized with Statement of Position (SOP) 97-2, "Software
Revenue Recognition," as modified by SOP 98-9, "Modification of SOP 97-2,
Software Revenue Recognition with Respect to Certain Transactions," and SEC Staff
Accounting Bulletin (SAB) 101, "Revenue Recognition."

Software licensee revenues are recognized upon shipment, provided fees are fixed
and determinable and collection is probable. Revenue for agreements that include
one or more elements to be delivered at a future date is recognized using the residual
method. Under the residual method, the fair value of the undelivered elements is
deferred, and the remaining portion of the agreement fee is recognized as license
revenue. If fair values have not been established for certain undelivered elements,
revenue is deferred until those elements have been delivered, or their fair values have
been determined. Agreements that include a right to unspecified future elements are
recognized ratably over the term of the agreement. License fees from reseller
agreements are generally based on the sublicenses granted by the reseller and
recognized when the license is sold to the end customer. Licenses to our content
databases are recognized over the term of the agreements. Fees from licenses sold
together with services are generally recognized upon shipment, provided fees are
fixed and determinable, collection is probable, payment of the license fee is not
dependent upon the performance of the consulting services and the consulting
services are not essential to the functionality of the licensed software.

Service revenues are primarily derived from fees for implementation, consulting and
training services and are generally recognized as the services are performed under
service agreements in connection with initial license sales.

Maintenance revenues are derived from technical support and software updates
provided to customers. Maintenance revenue is recognized ratably over the term of
the maintenance agreement, generally one year.

Payments received in advance of revenue recognized are classified as deferred
revenue in the Consolidated Balance Sheets.

146. The August 2001 Form 10-Q provided the following disclosure with respect to i2's

preparation of its financial statements:

The accompanying condensed consolidated financial statements have been prepared
without audit and reflect all adjustments that, in the opinion of management, are

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necessary to present fairly our financial position at March 31, 2001, and our results
of operations and cash flows for the periods presented.

147. On October 16, 2001, i2 issued a press release reporting its financial and operational
results for the quarter ended September 30, 2001. For the quarter, the Company reported that total
revenues of $194 million for the third quarter were down from $241 million in previous quarter, and
down from $320 million in third quarter of 2000.

148. OnNovember 14, 2001, i2 filed with the SEC its Quarterly Report on Form 10-Q and
reiterated the financial and operational results reported in the October 16, 2001 press release. The
November 2001 Form 10-Q, signed by Individual Defendants Beecher and Becker, stated:

Revenues consist of software license revenues, service revenues, and maintenance
revenues, and are recognized in accordance with Statement of Position (SOP) 97-2,
"Software Revenue Recognition," as modified by SOP 98-9, "Modification of SOP
97-2, Software Revenue Recognition with Respect to Certain Transactions," and
SEC Staff Accounting Bulletin (SAB) 101, "Revenue Recognition."

Software license revenues are recognized upon shipment, provided fees are fixed and
determinable and collection is probable. Revenue for agreements that include one or
more elements to be delivered at a future date is recognized using the residual
method. Under the residual method, the fair value of the undelivered elements is
deferred, and the remaining portion of the agreement fee is recognized as license
revenue. If fair values have not been established for certain undelivered elements,
revenue is deferred until those elements have been delivered, or their fair values have
been determined. Agreements that include a right to unspecified future products are
recognized ratably over the term of the agreement. License fees from reseller
agreements are generally based on the sublicenses granted by the reseller and
typically recognized when the license is sold to the end customer. Licenses to our
content databases are recognized over the term of the agreements. Fees from licenses
sold together with services are generally recognized upon shipment, provided fees
are fixed and determinable, collection is probable, payment of the license fee is not
dependent upon the performance of the consulting services and the consulting
services are not essential to the functionality of the licensed software.

Service revenues are primarily derived from fees for implementation, consulting and

training services and are generally recognized as the services are performed under
service agreements in connection with initial license sales.

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Maintenance revenues are derived from technical support and software updates

provided to customers. Maintenance revenue is recognized ratably over the term of

the maintenance agreement, generally one year.

Payments received in advance of revenue recognized are classified as

deferred revenue in the Consolidated Balance Sheets.

149. The November 2001 Form 10-Q also stated:

The accompanying condensed consolidated financial statements have been prepared

without audit and reflect all adjustments that, in the opinion of management, are

necessary to present fairly our financial position as of September 30, 2001, and our

results of operations and cash flows for the periods presented.

150. The financial information and statements regarding i2's accounting procedures
contained in the paragraphs 142-149 above, were materially false and misleading as described in
paragraphs 44-87, above, because Defendants:

a. now admit that "the Company currently believes that material adjustments to
its previously reported financial results will be required. Accordingly, investors should not rely on
the financial information contained in the Company's annual reports on Form 10-K for the years
ended December 31, 1999, 2000, and 2001, in the Company's quarterly reports on Form 10-Q for
the quarters ended March 31, 1999 through September 30, 2002";

b. substantially overstated revenues by pulling a larger percentage of contract
revenues into the current quarter than allowed by SOP 97-2; and

c. substantially overstated account receivables by failing to particularize
shortfalls and bad debt allowances caused by the substantial problems with i2's software
implementation and integration.

151. On January 24, 2002, i2 issued a press release reporting its financial and operational

results for the fourth quarter and year-ended December 31, 2001. The press release stated:

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Sequential growth in both license revenues and unit sales and effective cost control
combined to improve the company's net results, reporting a pro forma loss of $0.08
per share for the fourth quarter compared to a loss of $0.13 per share in the previous
quarter and down from a $0.09 pro forma profit per share in the fourth quarter last
year. For the full year 2001, i2 reported a pro forma loss per share of $0.36,
compared to pro forma earnings per share of $0.26 last year. ...

Under GAAP (Generally Accepted Accounting Principles) reporting standards, the
company reported a net loss of $590 million, or $1.40 loss per share for the fourth
quarter. This compares to a net loss of $727 million, or $1.801oss per share, for the
same period last year. For the full year 2001, the company reported a net loss of
$7.75 billion, or $18.68 loss per share for 2001 with 97 percent of this reported net
loss resulting from the amortization and write-down of intangible assets largely
associated with the 2000 acquisition of Aspect Development. This compared to a net
loss of $1.75 billion, or $4.83 loss per share, for 2000.

License and Total Revenue

i2 achieved a 7 percent sequential increase in license revenues from third quarter
results to $73 million, down from $244 million in the fourth quarter of 2000. Total
fourth quarter revenues of $194 million were on par with third quarter results and
down from $378 million in the same period last year. License revenues for the fiscal
year 2001 were $458 million, down 35 percent from the prior year. Total revenues
for 2001 were $986 million, down 12 percent from 2000 results, a year in which the
company reported 97 percent growth.

152. On April 1, 2002, i2 filed with the SEC its Annual Report on Form 10-K and
reiterated the financial and operational results reported in the January 24, 2002 press release (the
"2001 Form 10-K"). Signed by Individual Defendants Sidhu, Brady, Beecher and Becker, the 2001
Form 10-K provided the following disclosure with respect to i2's "revenue recognition" accounting
policies and practices:

Revenue Recognition. Revenues consist of software license revenues, service
revenues and maintenance revenues, and are recognized in accordance with
Statement of Position (SOP) 97-2, "Software Revenue Recognition," as modified by
SOP 98-9, "Modification of SOP 97-2, Software Revenue Recognition with Respect
to Certain Transactions," and SEC Staff Accounting Bulletin (SAB) 101, "Revenue
Recognition."

Software license revenues are recognized upon shipment, provided fees are fixed and
determinable and collection is probable. Revenue for agreements that include one or
more elements to be delivered at a future date is recognized using the residual

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method. Under the residual method, the fair value of the undelivered elements is
deferred, and the remaining portion of the agreement fee is recognized as license
revenue. If fair values have not been established for certain undelivered elements,
revenue is deferred until those elements have been delivered, or their fair values have
been determined. Agreements that include a right to unspecified future products are
recognized ratably over the term of the agreement. License fees from reseller
agreements are generally based on the sublicenses granted by the reseller and
recognized when the license is sold to the end customer. Licenses to our content
databases are recognized over the terms of the agreements. License revenues from
custom development projects are generally recognized in proportion to the
percentage completion of the project. Fees from licenses sold together with services
are generally recognized upon shipment, provided fees are fixed and determinable,
collection is probable, payment of the license fee is not dependent upon the
performance of any related consulting services by us and any such consulting
services are not essential to the functionality of the licensed software.

Service revenues are primarily derived from fees for implementation, consulting and
training services and are generally recognized under service agreements as the
services are performed. Service arrangements are generally contracted in connection
with the initial license transaction. Reimbursements received from customers for
out-of-pocket expense incurred in connection with providing these services are
reported as reductions of expenses incurred in our Consolidated Statement of
Operations. A new accounting standard that impacts accounting for such
reimbursements will be effective in 2002. See Note 16 - New Accounting Standards.

Maintenance revenues are derived from technical support and software updates
provided to customers. Maintenance revenue is recognized ratably over the term of
the maintenance agreement.

Payments received in advance of revenue recognized are classified as deferred
revenue in the Consolidated Balance Sheets. Royalties associated with third-party
software products integrated with our technology are expensed when the products
are shipped while commissions payable to affiliates in connection with sales
assistance are expensed when the transactions are recognized. Accrued royalties
payable totaled $26.6 million and $12.1 million at December 31, 2001 and 2000
while accrued affiliate commissions payable totaled $18.5 million and $28.4 million
at those dates.

We generally warrant our products will function substantially in accordance with
documentation provided to customers. We accrue for warranty claims on a
case-by-case basis; however, due to the unique nature of each claim and lack of a
settlement history, estimating the necessary accrual involves an element of
uncertainty and future events may cause significant fluctuations.

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153. The financial information and statements regarding i2's accounting procedures
contained in the 2001 Form 10-K and January 24, 2002 press release were materially false and
misleading as described in paragraphs 44-87, above, because Defendants:

a. now admit that "the Company currently believes that material adjustments to
its previously reported financial results will be required. Accordingly, investors should not rely on
the financial information contained in the Company's annual reports on Form 10-K for the years
ended December 31, 1999, 2000, and 2001, in the Company's quarterly reports on Form 10-Q for
the quarters ended March 31, 1999 through September 30, 2002":

b. substantially overstated revenues by pulling a larger percentage of contract
revenues into the current quarter than allowed by SOP 97-2; and

c. substantially overstated account receivables by failing to particularize
shortfalls and bad debt allowances caused by the substantial problems with i2's software
implementation and integration.

154. In its public filings for the remainder of 2002, i2 did not correct its materially false
and misleading statements regarding revenues and accounts receivable.

155. On November 14, 2002, i2 filed its Form 10-Q for the quarterly period ended
September 30, 2002 (the "November 2002 Form 10-Q"). In the November 2002 Form 10-Q,
Defendants, for the first time revealed problems they knew or should have known about i2's
accounting processes. The November 2002 Form 10-Q states:

We and certain members of our board of directors have received a series of
communications from two of our former officers containing a variety of allegations

generally related to: accounting and revenue recognition: inadequate financial

controls; and gross negligence or potential fraud in connection with product and
customer problems, acquisitions, public disclosure and other management decisions.

Prior to sending the initial correspondence in the series described above, each of the
former officer had made claims against us seeking monetary relief. The claims by

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one officer have been settled. The claim by the other officer, in which he alleged
that he is entitled to at least $3 million from us arising from our acquisition of his
former company, remains unsettled. In addition, we understand that the two former
officers are partners in a business venture which may be competitive with us.

Our board of directors directed its audit committee to investigate the initial
allegations promptly after they were received. The audit committee, comprised
solely of independent directors, engage separate legal and accounting advisors to
assist with the investigation. The audit committee completed the investigation and
reported its findings to our board of directors in the third quarter of this year. Based
on the results of the audit committee's investi gation, our board of directors concluded
that there were no adjustments necessary to our financial statements, that there were
no indications of material deficiencies in our financial controls and that the facts did
not support the allegations concerning gross negligence or potential fraud.

In September and October 2002, the two former officers brought additional
information to the attention of the audit committee in respect of their prior
allegations regarding revenue recognition. A review of this additional information

was performed and, as a result of that review. our management believes that the
revenue_recognition allegations remain unsubstantiated by the additional

information. Our Management has preliminarily reviewed its findings with the audit
committee which in turn has directed management to review those findings with the
separate accounting advisors engaged by the audit committee to investigate the initial
allegations. Following such review, the audit committee will receive a report from
its separate accounting advisors and, if appropriate, will direct the separate
accounting advisors to conduct an additional inquiry and analysis. [Emphasis

 

added.]

156. Following i2's statements that there was no merit to its former officers’ assertions of
accounting fraud, i2's stock increased from $1.15 to $1.20 on November 15, 2002, an increase of
more than 14%.

157. On January 27, 2003, i2 announced that:

[T]he audit committee of its board of directors has engaged Deloitte & Touche LLP,
the Company's current external auditors, to re-audit the company's financial
statements for the years ended December 31, 2000 and 2001. This decision was
made at the recommendation of management based on recent information developed
during the audit committee's ongoing investigation of certain allegations regarding
the company's revenue recognition with respect to certain customer contracts and its
financial reporting for those years. This decision was also influenced by the
unavailability of Arthur Andersen LLP, the company's external auditor for those
years, to consider any restatement that might be necessary. Deloitte & Touche

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replaced Arthur Andersen as the Company's external auditor in the company's
external auditor in May 2002. The company has notified the SEC of these
allegations, and the staff has opened an informal inquiry into these matter.

As material adjustments to the previously reported financial statements may be
required, investors should not rely on the financial information contained in the
company’s annual reports of Form 10-K for the years ended December 31. 2000 and
2001 or in the company's quarterly reports on Form 10-Q for the quarters ended
March 31, 2000 through September 30, 2002. While there can be no assurance, the
company is working towards a goal of having the re-audit of the 2000 and 2001
financial statements, as well as the audit of the 2002 financial statements, completed
to allow for the timely filing of the Company's 2002 annual report on Form 10-K.
[Emphasis added. ]

 

 

158. 2's admission of improper revenue recognition caused i2's stock price to drop
sharply, falling $.34 cents, or 27%, to close at $.92 on January 27, 2003.
159. On March 31, 2003, i2 issued a press release stating that it:

[W]ould delay filing its annual report on Form 10-K for the year ended December
31, 2002. The delay results from the Company's previously announced decision to
re-audit its financial statements for the years ended December 31, 2000 and 2001 as
well as the Company's recent determination to expand the re-audits to include its

financial statements for the year ended December 31, 1999.

While the re-audits have not been completed and i2 cannot be certain of their
eventual outcome with regard to amounts or periods affected, the Company currently

believes that material adjustments to its previously reported financial results will be

required. Accordingly, investors should not rely on the financial information
contained in the Company's annual reports on Form 10-K for the years ended
December 31, 1999, 2000, and 2001, in the Company's quarterly reports on Form 10-
Q for the quarters ended March 31, 1999 through September 30, 2002. or in the

Company's preliminary results for the fourth quarter of 2002. [Emphasis added.]}

160. In that press release, i2 also informed the market that it was the "subject of a formal

investigation by" the SEC. At the time of the March 31, 2002 press release, the NASD had halted

trading in i2 common stock.

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THE INDIVIDUAL DEFENDANTS' MASSIVE STOCK SALES

 

161. As alleged herein, Defendants acted with scienter in that Defendants knew that the
public documents and statements issued or disseminated in the name of the Company were
materially false and misleading; knew that such statements or documents would be issued or
disseminated to the investing public; and knowingly and substantially participated or acquiesced in
the issuance or dissemination of such statements or documents as primary violators of the federal
securities laws. As set forth elsewhere herein in detail, Defendants, by virtue of their receipt of
information reflecting the true facts regarding i2, their control over, and/or receipt and/or
modification of i2’s allegedly materially misleading misstatements and/or their associations with
the Company which made them privy to confidential proprietary information concerning i2,
participated in the fraudulent scheme alleged herein.

162. While Defendants were issuing false and misleading statements about i2 and its
business, the Individual Defendants disposed of $489,102,835.19 of their personally-held stock,
greatly benefitting from the artificial inflation in i2's stock price their fraudulent scheme had created.

The Individual Defendants Beecher, Brady and Sidhu sold shares during the Class Period as follows:

William M. Beecher

Chief Financial Officer, Vice President

 

 

 

 

 

 

 

Date Shares Price Proceeds

1/24/01 10,000 | $ 59.72 | $ 597,200.00
1/24/01 11,196 | $ 59.72 | $ 668,625.00
1/24/01 20,000 | $ 59.72 | §$ 1,194,400.00
1/24/01 26,804 | $ 59.72 | $ 1,600,735.00
1/24/01 32,000 | $ 59.72 | $ 1,911,040.00
10/27/00 25,000 | $ 167.80 | $ 4,195,000.00

 

 

 

 

 

 

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Case 3:01-cv-00418@Document 91 Filed 05/23/03 PhDs of 97 PagelD 602

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Shares Price Proceeds

10/24/00 25,000 | $ 177.65 | $ 4,441,250.00
8/01/00 20,000 | $ 125.06 | $ 2,501,200.00
5/15/00 1,500 | $ 112.00 | $ 168,000.00
5/12/00 2,000 | $ 110.00 | $ 220,000.00
5/11/00 1,000 | $ 100.00 | $ 100,000.00
5/08/00 2,000 | $ 115.00 | $ 230,000.00
5/05/00 4,000 | $ 115.34 | $ 461,360.00
5/02/00 2,000 | $ 125.50 | $ 251,000.00
4/28/00 7,500 | $ 127.11 | $ 953,287.50
2/11/00 4,000 | $ 240.75 | $ 963,000.00
2/10/00 5,000 | $ 245.31 | $ 1,226,562.00
2/9/00 5,000 | $ 232.25 | $ 1,161,250.00
10/25/99 2,000 | $ 60.00 | $ 120,000.00
10/22/99 4,000 | $ 57.50 | $ 230,000.00
5/18/99 4,000 | $ 34.38 1 $ 137,500.00
TOTAL $ 23,331,409.50

 

 

 

 

 

 

Gregory A. Brady

   

 

 

 

 

 

 

 

 

 

 

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Date Shares Price Proceeds

1/23/01 280,000 | $ 53.96 | $ 15,108,800.00
1/23/01 120,000 | $ 53.96 | $ 6,475,020.00
10/23/00 90,000 | $ 180.08 | $ 16,207,200.00
10/23/00 110,000 | $ 180.08 | $ 19,808,800.00
8/07/00 50,000 | $ 140.09 | $ 7,004,500.00
8/03/00 10,000 | $ 129.37 | $ 1,293,700.00

 

 
Case 3:01-cv-00418-Pocument 91 Filed 05/23/03 palo of 97 PagelD 603

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Shares Price Proceeds

8/03/00 20,000 | $ 128.88 | $ 2,577,600.00
8/03/00 100,000 | $ 124.44 | $ 12,444,000.00
7/31/00 10,000 | $ 125.13 | $ 1,251,250.00
7/31/00 10,000 | $ 125.00 | $ 1,250,000.00
2/25/00 20,000 | $ 150.13 | $ 3,006,250.00
2/11/00 28,000 | $ 240.75 | $ 6,741,000.00
2/11/00 7,000 | $ 240.75 | $ 1,685,250.00
2/8/00 5,000 | $ 235.81 | $ 1,179,062.00
10/25/99 50,000 | $ 59.68 | $ 2,983,750.00
8/31/99 9,000 | $ 32.11 | $ 288,990.00
TOTAL $ 99,305,172.00

 

Sanjiv S. Sidhu

Chief Executive Officer and Chairman

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Shares Price Proceeds

9/17/2001 11,245 |$ 4.75 |$ 53,390.14
9/17/2001 11,245 | $ 4.75 1$ 53,390.14
9/17/2001 6,477 |$ 4.75 |$ 30,752.15
9/17/2001 5,623 |$ 4.75 |$ 26,697.44
9/10/2001 12,912 |$ 5.44 |$ 70,201.25
9/10/2001 12,912 |$ 5.62 |$ 72,610.63
9/10/2001 12,912 | $ 5.44 |$ 70,201.25
9/10/2001 12,912 |$ 5.62 | $ 72,610.63
9/10/2001 6,477 | $ 5.44 |$ 35,214.80
9/10/2001 6,456 | $ 5.62 1$ 36,305.32
9/10/2001 6,456 | $ 5.44 |$ 35,100.63

 

 

 
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Case so1-ev-00410-. ocumen t91 Filed 05/23/03 mm) of 97 PagelD 604

SCHEDULE “A” TO
PLAINTIFFS’ SECOND
AMENDED COMPLAINT

 
Case 3:01-cv-00418-bocument 91 Filed 05/23/03 pa of 97 PagelD 605

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Shares Price Proceeds

9/4/2001 12,912 |$ 6.74 | $ 87,019.13
9/4/2001 12,912 |$ 6.72 | $ 86,720.87
9/4/2001 12,912 |$ 6.74 | $ 87,019.13
9/4/2001 6,456 | $ 6.72 | §$ 43,360.43
9/4/2001 6,456 | $ 6.74 | $ 43,509.57
9/4/2001 6,456 | $ 6.72 | $ 43,360.43
9/4/2001 6,456 | $ 6.74 | $ 43,509.57
8/14/2001 12,955 |$ 8.78 | $ 113,684.01
8/14/2001 12,955 | $ 8.81 |$ 114,185.37
8/14/2001 6,477 1 $ 8.78 | $ 56,837.62
8/14/2001 6,477 | $ 8.81 | $ 57,088.28
8/13/2001 12,955 | $ 8.78 | $ 113,744.90
8/13/2001 12,955 | $ 8.82 | $ 114,220.35
8/13/2001 6,477 | $ 8.78 | $ 56,868.06
8/13/2001 6,477 | $ 8.82 | $ 57,105.77
8/10/2001 12,955 | $ 8.85 | $ 114,621.95
8/10/2001 12,955 | $ 8.88 | $ 115,075.38
8/10/2001 6,477 | $ 8.85 | $ 57,306.55
8/10/2001 6,477 | $ 8.88 | $ 57,533.25
8/9/2001 12,955 | $ 8.83 | $ 114,432.81
8/9/2001 12,955 | $ 8.91 | $ 115,442.01
8/9/2001 6,477 | $ 8.83 | $ 57,211.99
8/9/2001 6,477 | $ 8.91 |$ 57,716.55
8/8/2001 12,955 | $ 9.13 | $ 118,242.88
8/8/2001 12,955 | $ 9.49 1$ 122,911.86
8/8/2001 6,477 | $ 9.13 |$ 59,116.87

 

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Date Shares Price Proceeds

8/8/2001 6,477 | $ 9.49 |$ 61,451.19
8/7/2001 12,955 | $ 9.83 |$ 127,356.72
8/7/2001 12,955 | $ 9.87 |$ 127,860.67
8/7/2001 6,477 | $ 9.83 |$ 63,673.44
8/7/2001 6,477 | $ 9.87 |$ 63,925.40
8/6/2001 12,955 | $ 9.62 |$ 124,576.58
8/6/2001 12,955 | $ 9.92 |$ 128,491.58
8/6/2001 6,477 | $ 9.62 |$ 62,283.48
8/6/2001 6,477 | $ 9.92 1$ 64,240.83
8/3/2001 12,955 | $ 9.62 |$ 124,689.28
8/3/2001 12,955 | $ 9.72 |$ 125,931.67
8/3/2001 6,477 | $ 9.62 |$ 62,339.83
8/3/2001 6,477 | $ 9.72 |$ 62,960.97
8/2/2001 12,955 | $ 10.17 | $ 131,761.42
8/2/2001 12,955 | $ 10.70 | $ 138,614.61
8/2/2001 6,477 | $ 10.17 1$ 65,875.62
8/2/2001 6,477 | $ 10.70 | $ 69,301.96
8/1/2001 12,955 | $ 9.95 |$ 128,943.71
8/1/2001 12,955 | $ 10.16 | $ 131,609.85
8/1/2001 6,477 | $ 9.95 1$ 64,466.88
8/1/2001 6,477 | $ 10.16 1$ 65,799.84
7/16/2001 12,999 | $ 14.85 |§$ 193,052.05
7/16/2001 12,999 | $ 15.04 | $ 195,568.66
7/16/2001 6,499 | $ 14.85 | $ 96,518.60
7/16/2001 6,499 | $ 15.04 | §$ 97,776.81
7/13/2001 12,999 | $ 15.13 | $ 196,724.27

 

 

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Date Shares Price Proceeds

7/13/2001 12,999 | $ 15.13 | $ 196,738.57
7/13/2001 6,499 | $ 15.13 | $ 98,354.57
7/13/2001 6,499 | $ 15.13 | $ 98,361.72
7/12/2001 12,999 | $ 15.22 | $ 197,851.28
7/12/2001 12,999 | $ 15.48 | $ 201,271.32
7/12/2001 6,499 | $ 15.22 |$ 98,918.03
7/12/2001 6,499 | $ 15.48 | $ 100,627.92
7/11/2001 12,999 | $ 14.20 1$ 184,526.00
7/11/2001 12,999 | $ 14.66 | $ 190,508.14
7/11/2001 6,499 | $ 14.20 1 $ 92,255.90
7/11/2001 6,499 | $ 14.66 |$ 95,246.74
7/10/2001 12,999 | $ 15.54 1§$ 201,983.66
7/10/2001 12,999 | $ 16.89 |$ 219,564.81
7/10/2001 6,499 | $ 15.54 | $ 100,984.06
7/10/2001 6,499 | $ 16.89 | $ 109,773.96
7/9/2001 12,999 |$ 16.10 | $ 209,283.90
7/9/2001 12,999 | $ 16.43 1§$ 213,617.77
7/9/2001 6,499 | $ 16.10 | $ 104,633.90
7/9/2001 6,499 | $ 16.43 1$ 106,800.67
7/6/2001 12,999 | $ 15.49 | $ 201,314.21
7/6/2001 12,999 | $ 15.80 | §$ 205,418.00
7/6/2001 6,499 | $ 15.49 |§$ 100,649.36
7/6/2001 6,499 | $ 15.80 | $ 102,701.10
7/5/2001 12,999 | $ 16.73 | $ 217,466.77
7/5/2001 12,999 | $ 18.16 | $ 236,098.24
7/5/2001 6,499 | $ 16.73 |$ 108,725.02

 

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Case 3:01-cv-00418Pbocument 91 Filed 05/23/03 ~ of 97 PagelD 608

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Shares Price Proceeds

7/5/2001 6,499 | $ 18.16 | $ 118,040.04
7/3/2001 12,999 | $ 17.65 | $ 229,432.35
7/3/2001 12,999 | $ 18.16 | $ 235,998.14
7/3/2001 6,499 | $ 17.65 | $ 114,707.35
7/3/2001 6,499 | $ 18.16 | $ 117,989.99
7/2/2001 12,999 | $ 19.04 | $ 247,454.16
7/2/2001 12,999 | $ 19.31 | $ 251,026.29
7/2/2001 6,499 | $ 19.31 1§$ 125,503.49
6/14/2001 13,042 | $ 17.78 |$ 231,864.59
6/14/2001 13,042 | $ 17.17 1$ 223,983.31
6/14/2001 6,521 | $ 17.17 |$ 111,991.65
6/14/2001 6,521 | $ 17.78 1$ 115,932.29
6/13/2001 13,042 | $ 19.82 | $ 258,488.53
6/13/2001 13,042 | $ 21.33 | $ 278,135.00
6/13/2001 6,521 | $ 19.82 |$ 129,244.26
6/13/2001 6,521 | $ 21.33 | $ 139,067.50
6/12/2001 13,042 | $ 20.54 | $ 267,864.42
6/12/2001 13,042 | $ 21.33 | $ 278,145.43
6/12/2001 6,521 | $ 20.54 | $ 133,932.21
6/12/2001 6,521 | $ 21.33 | $ 139,072.71
6/11/2001 13,042 | $ 22.24 | $ 290,084.08
6/11/2001 13,042 | $ 23.49 |$ 306,378.75
6/11/2001 6,521 | $ 22.24 |$ 145,042.04
6/11/2001 6,521 | $ 23.49 |$ 153,189.38
6/8/2001 13,042 | $ 24.10 | $ 314,340.89
6/8/2001 13,042 | $ 24.28 |$ 316,658.46

 

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Date Shares Price Proceeds

6/8/2001 6,521 | $ 24.10 | $ 157,170.45
6/8/2001 6,521 | $ 24.28 | $ 158,329.23
6/7/2001 13,042 | $ 22.85 |$ 298,067.08
6/7/2001 13,042 | $ 22.95 | $ 299,332.16
6/7/2001 6,521 | $ 22.85 | $ 149,033.54
6/7/2001 6,521 | $ 22.95 | $ 149,666.08
6/6/2001 13,042 | $ 22.76 | $ 296,786.36
6/6/2001 13,042 | $ 22.83 | $ 297,771.03
6/6/2001 6,521 | $ 22.76 | $ 148,393.18
6/6/2001 6,521 | $ 22.83 | $ 148,885.52
6/5/2001 13,042 | $ 21.10 | $ 275,186.20
6/5/2001 13,042 | $ 21.98 | $ 286,682.72
6/5/2001 6,521 | $ 21.10 | $ 137,593.10
6/5/2001 6,521 | $ 21.98 |$ 143,341.36
6/4/2001 13,042 | $ 20.63 | §$ 269,009.51
6/4/2001 13,042 | $ 20.74 |$ 270,538.03
6/4/2001 6,521 | $ 20.63 | $ 134,504.75
6/4/2001 6,521 | $ 20.74 | §$ 135,269.02
6/1/2001 13,042 | $ 20.20 | $ 263,440.57
6/1/2001 13,042 | $ 20.60 | $ 268,665.20
6/1/2001 6,521 | $ 20.20 | $ 131,720.29
6/1/2001 6,521 | $ 20.60 | $ 134,332.60
5/14/2001 13,086 | $ 19.14 |$ 250,473.89
5/14/2001 13,086 | $ 19.04 |$ 249,167.91
5/14/2001 6,543 | $ 19.14 |$ 125,236.95
5/14/2001 6,543 | $ 19.04 |$ 124,583.95

 

 

 

 

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Date Shares Price Proceeds

5/11/2001 13,086 | $ 19.90 | $ 260,416.63
5/11/2001 13,086 | $ 20.75 | §$ 271,564.60
5/11/2001 6,543 | $ 19.90 |$ 130,208.32
5/11/2001 6,543 | $ 20.75 | $ 135,782.30
5/10/2001 13,086 | $ 21.31 1$ 278,829.95
5/10/2001 13,086 | $ 22.20 | $ 290,509.20
5/10/2001 6,543 | $ 21.31 | $ 139,414.97
5/10/2001 6,543 | $ 22.20 | $ 145,254.60
5/9/2001 13,086 | $ 20.97 | $ 274,464.46
5/9/2001 13,086 | $ 21.85 | $ 285,909.47
5/9/2001 6,543 | $ 20.97 | $ 137,232.23
5/9/2001 6,543 | $ 21.85 |$ 142,954.74
5/8/2001 13,086 | $ 22.16 | $ 290,001.46
5/8/2001 13,086 | $ 22.52 | $ 294,665.31
5/8/2001 6,543 | $ 22.16 | $ 145,000.73
5/8/2001 6,543 | $ 22.52 | $ 147,332.66
5/7/2001 13,086 | $ 23.57 | $ 308,376.82
5/7/2001 13,086 | $ 24.57 | $ 321,515.17
5/7/2001 6,543 | $ 23.57 | $ 154,188.41
5/7/2001 6,543 | $ 24.57 | $ 160,757.58
5/4/2001 13,086 | $ 20.58 | $ 269,309.88
5/4/2001 13,086 | $ 21.09 | $ 276,012.53
5/4/2001 6,543 | $ 20.58 | $ 134,654.94
5/4/2001 6,543 | $ 21.09 | $ 138,006.26
5/3/2001 13,086 | $ 20.47 | $ 267,886.12
5/3/2001 13,086 | $ 21.44 |$ 280,600.48

 

 

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Date Shares Price Proceeds

5/3/2001 6,543 | $ 20.47 | $ 133,943.06
5/3/2001 6,543 | $ 21.44 | $ 140,300.24
5/2/2001 13,086 | $ 19.75 |$ 258,498.23
5/2/2001 13,086 | $ 19.90 |$ 260,423.18
5/2/2001 6,543 | $ 19.75 | $ 129,249.11
5/2/2001 6,543 | $ 19.90 |$ 130,211.59
5/1/2001 13,086 | $ 16.90 | § 221,141.62
5/1/2001 13,086 | $ 17.24 |$ 225,594.79
5/1/2001 6,543 | $ 16.90 | §$ 110,570.81
5/1/2001 6,543 | $ 17.24 | §$ 112,797.39
4/16/2001 13,130 | $ 18.86 | $ 247,686.95
4/16/2001 13,130 | $ 19.17 |§$ 251,685.03
4/16/2001 6,565 | $ 18.86 | $ 123,843.47
4/16/2001 6,565 | $ 19.17 1$ 125,842.52
4/12/2001 13,130 | $ 18.44 |$ 242,135.58
4/12/2001 13,130 | $ 19.14 | $ 251,338.40
4/12/2001 6,565 | $ 18.44 |$ 121,067.79
4/12/2001 6,565 | $ 19.14 |$ 125,669.20
4/11/2001 13,130 | $ 20.07 | $ 263,481.02
4/11/2001 13,130 | $ 22.06 | $ 289,647.80
4/11/2001 6,565 | $ 20.07 | $ 131,740.51
4/11/2001 6,565 | $ 22.06 | $ 144,823.90
4/10/2001 13,130 | $ 18.85 |$ 247,500.50
4/10/2001 13,130 | $ 20.06 | $ 263,404.87
4/10/2001 6,565 | $ 18.85 | $ 123,750.25
4/10/2001 6,565 | $ 20.06 | $ 131,702.43

 

 

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Date Shares Price Proceeds

4/9/2001 13,130 | $ 17.91 |$ 235,220.01
4/9/2001 13,130 | $ 17.93 |$ 235,460.29
4/9/2001 6,565 | $ 17.91 | $ 117,610.01
4/9/2001 6,565 | $ 17.93 | $ 117,730.15
4/6/2001 13,130 | $ 16.20 | $ 212,762.46
4/6/2001 13,130 | $ 16.47 | $ 216,197.27
4/6/2001 6,565 | $ 16.20 | $ 106,381.23
4/6/2001 6,565 | $ 16.47 | §$ 108,098.63
4/5/2001 13,130 | $ 16.56 | $ 217,465.63
4/5/2001 6,565 | $ 16.56 | $ 108,732.81
4/4/2001 13,130 | $ 13.50 | $ 177,255.00
4/4/2001 6,565 | $ 13.50 | $ 88,627.50
4/3/2001 13,130 | $ 14.81 1§ 194,488.13
4/3/2001 6,565 | $ 14.81 1 $ 97,244.06
4/2/2001 13,130 | $ 15.06 | $ 197,770.63
4/2/2001 6,565 | $ 15.06 | $ 98,885.31
2/5/2001 105,000 | $ 48.04 | $ 5,043,969.00
2/5/2001 52,000 | $ 48.04 | $ 2,497,965.60
2/5/2001 39,800 | $ 47.99 |$ 1,910,073.64
2/5/01 19,900 | $ 47.99 1$ 955,001.00
2/5/01 39,800 | $ 47.99 |$ 1,910,002.00
2/5/01 105,000 | $ 48.04 |$ 5,044,200.00
2/5/01 52,000 | $ 48.04 | $ 2,498,080.00
2/2/01 17,000 | $ 51.49 |$ 875,330.00
2/2/01 19,900 | $ 50.19 | $ 998,781.00
2/2/01 39,800 | $ 50.19 | $ 1,997,562.00

 

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Case 3:01-cv-00418 bocument 91 Filed 05/23/03 PAB of 97 PagelD 613

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Shares Price Proceeds

2/2/01 33,000 | $ 51.49 |$ 1,699,170.00
2/1/01 19,900 | $ 52.97 | $ 1,054,103.00
2/1/01 39,800 | $ 52.97 |$ 2,108,206.00
2/1/01 40,000 | $ 52.85 | §$ 2,114,000.00
2/1/01 20,000 | $ 52.85 | $ 1,057,000.00
1/31/01 7,000 | $ 56.25 | $ 393,750.00
1/31/01 19,900 | $ 54.02 |$ 1,074,998.00
1/31/01 39,800 | $ 54.02 | $ 2,149,996.00
1/31/01 13,000 | $ 56.25 | $ 731,250.00
1/30/01 19,900 | $ 55.64 |$ 1,107,236.00
1/30/01 39,800 | $ 55.84 | §$ 2,222,432.00
1/29/01 8,000 | $ 57.23 |$ 457,840.00
1/29/01 39,800 | $ 56.87 | $ 2,263,426.00
1/29/01 19,900 | $ 56.87 | §$ 1,131,713.00
1/29/01 17,000 | $ 57.23 | $ 972,910.00
1/26/01 17,000 | $ 57.19 1$ 972,230.00
1/26/01 19,900 | $ 55.71 |$ 1,108,629.00
1/26/01 33,000 | $ 57.19 |$ 1,887,270.00
1/26/01 39,800 | $ 55.71 |$ 2,217,258.00
1/25/01 39,800 | $ 58.77 |$ 2,339,046.00
1/25/01 19,900 | $ 58.77 |$ 1,169,523.00
1/24/01 50,000 | $ 59.51 |$ 2,975,500.00
1/24/01 39,800 | $ 59.47 |$ 2,366,906.00
1/24/01 25,000 | $ 59.51 | $ 1,487,750.00
1/24/01 19,900 | $ 59.47 |$ 1,183,453.00
1/23/01 53,000 | $ 54.79 i$ 2,903,870.00

 

 

 

 

 

 

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Date Shares Price Proceeds

1/23/01 107,000 | $ 54.79 |$ 5,862,530.00
1/23/01 39,800 | $ 55.37 |$ 2,203,726.00
1/23/01 19,900 | $ 55.37 |$ 1,101,863.00
11/3/00 16,500 | $ 170.01 | $ 2,805,165.00
11/3/00 17,000 | $ 170.01 |$ 2,890, 170.00
11/2/00 15,434 | $ 171.38 |$ 2,645,079.00
11/2/00 16,000 | $ 171.13 | $ 2,738,080.00
11/2/00 30,866 | $ 171.38 |$ 5,289,815.00
11/2/00 16,000 | $ 171.13 | $ 2,738,080.00
11/1/00 16,000 | $ 172.26 |$ 2,756,160.00
11/1/00 16,000 | $ 172.26 |$ 2,756,160.00
11/1/00 14,716 | $ 173.10 | $ 2,547,340.00
11/1/00 29,434 | $ 173.10 |$ 5,095,025.00
10/31/00 18,000 | $ 166.15 | $ 2,990,700.00
10/31/00 10,050 | $ 165.00 | $ 1,658,250.00
10/30/00 10,050 | $ 161.91 | $ 1,627,196.00
10/30/00 14,000 | $ 163.11 |$ 2,283,540.00
10/27/00 20,100 | $ 166.47 |$ 3,346,047.00
10/27/00 20,000 | $ 167.30 |$ 3,346,000.00
10/27/00 10,050 | $ 166.47 |$ 1,673,024.00
10/26/00 10,050 | $ 158.49 | $ 1,592,825.00
10/26/00 20,100 | $ 158.49 |$ 3,185,649.00
10/26/00 21,000 | $ 165.92 |$ 3,484,320.00
10/25/00 10,050 | $ 172.67 | $ 1,735,334.00
10/25/00 201,000 | $ 172.67 |$ 34,706,670.00
10/25/00 25,000 | $ 176.05 | $ 4,401,250.00

 

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Date Shares Price Proceeds

10/24/00 20,100 | $ 178.85 |$ 3,594,885.00
10/24/00 24,000 | $ 179.27 |$ 4,302,480.00
10/24/00 10,050 | $ 178.85 | $ 1,797,443.00
10/23/00 30,000 | $ 182.59 | $ 5,477,700.00
10/23/00 20,100 | $ 185.25 |$ 3,723,525.00
10/23/00 10,005 | $ 185.00 | $ 1,850,925.00
7/31/00 10,000 | $ 126.00 | $ 1,260,000.00
7/31/00 5,000 | $ 122.38 1$ 611,900.00
7/31/00 10,000 | $ 127.13 |$ 1,271,300.00
7/31/00 20,000 | $ 124.14 1$ 2,482,800.00
7/31/00 10,000 | $ 125.25 |$ 1,252,500.00
7/31/00 10,000 | $ 124.50 |$ 1,245,000.00
7/31/00 9,000 | $ 121.50 |$ 1,093,500.00
7/31/00 6,000 | $ 121.75 1$ 730,500.00
7/31/00 5,000 | $ 123.00 | $ 615,000.00
7/31/00 10,000 | $ 124.63 | $ 1,246,300.00
7/31/00 5,000 | $ 123.00 | $ 615,000.00
7/31/00 10,000 | $ 122.00 |$ 1,220,000.00
7/31/00 10,000 | $ 124.14 |$ 1,241,400.00
7/31/00 10,000 | $ 124.00 |$ 1,240,000.00
7/28/00 5,000 | $ 121.88 |$ 609,400.00
7/28/00 10,000 | $ 127.00 |$ 1,270,000.00
7/28/00 5,000 | $ 127.63 |$ 638,150.00
7/28/00 10,000 | $ 121.13 |$ 1,211,300.00
7/28/00 33,500 | $ 121.75 |$ 4,078,625.00
7/28/00 20,000 | $ 121.15 |$ 2,423,000.00

 

 

 

 

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Date Shares Price Proceeds

7/28/00 10,000 | $ 121.15 |$ 1,211,500.00
7/28/00 5,000 | $ 127.38 |$ 636,900.00
7/27/00 20,000 | $ 127.50 |$ 2,550,000.00
7/26/00 15,000 | $ 127.25 |$ 1,908,750.00
7/26/00 1,500 | $ 131.00 | $ 196,500.00
7/25/00 59,000 | $ 134.32 | $ 7,924,880.00
7/25/00 31,000 | $ 134.32 |$ 4,163,920.00
7/24/00 35,000 | $ 141.48 |§$ 4,951,800.00
7/24/00 23,000 | $ 140.96 |$ 3,242,080.00
7/24/00 15,000 | $ 141.48 |$ 2,122,200.00
7/24/00 12,000 | $ 140.96 | $ 1,691,520.00
6/30/00 6,499 | $ 104.27 1$ 677,622.13
4/27/00 400,000 | $ 113.80 |$ 45,520,880.00
4/27/00 200,000 | $ 113.80 | $ 22,760,440.00
2/9/00 40,000 | $ 232.25 | $ 9,290,000.00
8/31/99 120,000 | $ 31.00 |$ 3,720,000.00
TOTAL $ 366,466,253.69

 

 

 

 

 

 

APPLICABILITY OF PRESUMPTION OF RELIANCE:
FRAUD-ON-THE-MARKET DOCTRINE

163. Atallrelevant times, the market for i2 common stock was an efficient market for the
following reasons, among others:
(a) i2 common stock met the requirements for listing, and was listed and actively
traded on the NASDAQ, a highly efficient and automated market;
(b) Asa regulated issuer, i2 filed periodic public reports with the SEC and the

NASD;

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(c) i2 regularly communicated with public investors via established market
communication mechanisms, including through regular disseminations of press releases on the
national circuits of major newswire services and through other wide-ranging public disclosures, such
as communications with the financial press and other similar reporting services; and

(d) i2 was followed by securities analysts employed by major brokerage firms
who wrote reports which were distributed to the sales force and certain customers of their respective
brokerage firms. Each of these reports was publicly available and entered the public marketplace.

164. As a result of the foregoing, the market for i2 common stock promptly digested
current information regarding i2 from all publicly available sources and reflected such information
in i2’s stock price. Under these circumstances, all purchasers of i2 common stock during the Class
Period suffered similar injury through their purchase of i2 securities at artificially inflated prices and
a presumption of reliance applies.

NO SAFE HARBOR

165. The statutory safe harbor provided for forward-looking statements under certain
circumstances does not apply to any of the materially false and misleading statements pleaded in this
Complaint as none of the statements was a forward-looking statement. To the extent that any of
Defendants’ challenged statements during the Class Period is found to be a forward-looking
statement, which Lead Plaintiffs believe should not be the case, there were also no meaningful
cautionary statements issued by Defendants identifying important factors that could cause actual
results to differ materially from those in the challenged statements. In fact, only after i2's major
integration and implementation problems were disclosed by Nike, did Defendants add the following

cautionary language to their SEC filings:

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IMPLEMENTATION OF OUR PRODUCTS IS COMPLEX, TIME-CONSUMING

AND EXPENSIVE AND CUSTOMERS MAY BE UNABLE TO IMPLEMENT

OUR PRODUCTS SUCCESSFULLY OR OTHERWISE ACHIEVE THE

BENEFITS ATTRIBUTABLE TO OUR PRODUCTS.

Our products must integrate with the many existing computer systems and software

programs of our customers. This can be complex, time-consuming and expensive,

and may cause delays in the deployment of our products. Our customers may be

unable to implement our products successfully or otherwise achieve the benefits

attributable to our products.
This disclaimer was not made by Defendants throughout the Class Period and did not appear in
connection with any of Defendants' repeated claims during the Class Period regarding the
purportedly unique capabilities of i2's TradeMatrix software to integrate with customers' existing
computer systems. Alternatively, to the extent that the statutory safe harbor does apply to any
statements pleaded herein, Defendants are liable for those materially false and misleading statements
because at the time each of those statements was made, the individual speaker knew that the
statement was false and misleading, and/or the statement was authorized and/or approved by an
executive officer of i2 who knew that the statement was false and misleading when made.

CLASS ACTION ALLEGATIONS

166. Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil
Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons or entities who purchased
or otherwise acquired i2 common stock between March 22, 2000 and January 27, 2003, inclusive,
and who were damaged thereby (the "Class"). Excluded from the Class are Defendants, the officers
and directors of the Company, at all relevant times, members of their immediate families and their

legal representatives, heirs, successors or assigns and any entity in which Defendants have or had

a controlling interest.

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167. The members of the Class are so numerous that joinder of all members is
impracticable. Throughout the Class Period, i2 common shares were actively traded on the
NASDAQ. While the exact number of Class members is unknown to plaintiffs at this time and can
only be ascertained through appropriate discovery, plaintiffs believe that there are hundreds or
thousands of members in the proposed Class. As of March 20, 2000, i2 had more than 157,000,000
outstanding shares of common stock. Record owners and other members of the Class may be
identified from records maintained by i2 or its transfer agent and may be notified of the pendency
of this action by mail, using the form of notice similar to that customarily used in securities class
actions.

168.  Plaintiffs' claims are typical of the claims of the members of the Class as all members
of the Class are similarly affected by Defendants' wrongful conduct in violation of federal law that
is complained of herein.

169. Plaintiffs will fairly and adequately protect the interests of the members of the Class
and have retained counsel competent and experienced in class action and securities litigation.

170. Common questions of law and fact exist as to all members of the Class and
predominate over any questions solely affecting individual members of the Class. Among the
questions of law and fact common to the Class are:

a. whether the federal securities laws were violated by Defendants’ acts as
alleged herein;

b. whether statements made by Defendants to the investing public during the
Class Period misrepresented material facts about the business, operations and products of i2; and

c. to what extent the members of the Class have sustained damages and the

proper measure of damages.

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171. A class action is superior to all other available methods for the fair and efficient
adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the
damages suffered by individual Class members may be relatively small, the expense and burden of
individual litigation make it impossible for members of the Class to individually redress the wrongs
done to them. There will be no difficulty in the management of this action as a class action.

FIRST CLAIM
Violation Of Section 10(b) Of
The Exchange Act And Rule 10b-5
Promulgated Thereunder Against All Defendants

172. Plaintiffs repeat and reallege each and every allegation contained above as if fully
set forth herein.

173. During the Class Period, Defendants carried out a plan, scheme and course of conduct
which was intended to and, throughout the Class Period, did: (I) deceive the investing public,
including plaintiffs and other Class members, as alleged herein; (ii) enable the Individual Defendants
to sell $489,102,835.19 of their personally-held shares of i2 common stock at artificially inflated
prices; and (iii) cause plaintiffs and other members of the Class to purchase i2 securities at
artificially inflated prices. In furtherance of this unlawful scheme, plan and course of conduct,
Defendants, and each of them, took the actions set forth herein.

174. Defendants: (a) employed devices, schemes, and artifices to defraud; (b) made untrue
statements of material fact and/or omitted to state material facts necessary to make their statements
not misleading; and ©) engaged in acts, practices, and a course of business which operated as a fraud
and deceit upon the purchasers of the Company's securities in an effort to maintain artificially high
market prices for i2 securities in violation of Section 10(b) of the Exchange Act and Rule 10b-5.

All Individual Defendants are liable as primary participants in the wrongful and illegal conduct

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charged herein and as controlling persons as alleged below. The Company is sued as a primary
violator of the securities laws.

175. Defendants, individually and in concert, directly and indirectly, by the use, means
or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a
continuous course of conduct to conceal adverse material information about the business, operations
and future prospects of i2 as specified herein.

176. These Defendants employed devices, schemes and artifices to defraud, while in
possession of material adverse non-public information and engaged in acts, practices, and a course
of conduct as alleged herein in an effort to assure investors of i2’s value and performance and
continued substantial growth, which included the making of, or the participation in the making of,
untrue statements of material facts and omitting to state material facts necessary in order to make
the statements made about i2 and its business operations in the light of the circumstances under
which they were made, not misleading, as set forth more particularly herein, and engaged in
transactions, practices and a course of business which operated as a fraud and deceit upon the
purchasers of i2 securities during the Class Period.

177. Each of the Individual Defendants' primary liability arises from the following facts:
(I) the Individual Defendants were high-level executives at the Company during the Class Period
and members of the Company's management team; (ii) each of these Defendants, by virtue of his
or her responsibilities and activities as a senior officer of the Company was privy to the undisclosed,
material facts set forth above about the Company's operations; (iii) each of these Defendants enjoyed
significant personal contact and familiarity with the other Defendants and was advised of and had
access to other members of the Company's management team, internal reports and other data and

information about the Company's operations and products at all relevant times; and (iv) each of these

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Defendants was aware of the Company's dissemination of information to the investing public which
he or she knew or recklessly disregarded was materially false and misleading.

178. The Defendants had actual knowledge of the misrepresentations and omissions of
material facts set forth herein, or acted with reckless disregard for the truth in that they failed to
ascertain and to disclose such facts, even though such facts were available to them. Such
Defendants' material misrepresentations and/or omissions were done knowingly or recklessly and
for the purpose and effect of concealing i2’s operating condition and future business prospects from
the investing public and supporting the artificially inflated price of its securities. As demonstrated
by Defendants' overstatements and misstatements of the Company's business, operations and
products throughout the Class Period, Defendants, if they did not have actual knowledge of the
misrepresentations and omissions alleged, were reckless in failing to obtain such knowledge by
deliberately refraining from taking those steps necessary to discover whether those statements were
false or misleading.

179. As aresult of the dissemination of the materially false and misleading information
and failure to disclose material facts, as set forth above, the market price of i2 securities was
artificially inflated during the Class Period. In ignorance of the fact that market prices of i2
publicly-traded securities were artificially inflated, and relying directly or indirectly on the false and
misleading statements made by Defendants, or upon the integrity of the market in which the
securities trade, and/or on the absence of material adverse information that was known to or
recklessly disregarded by Defendants but not disclosed in public statements by Defendants during
the Class Period, plaintiffs and the other members of the Class acquired i2 securities during the Class

Period at artificially high prices and were damaged thereby.

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180. At the time of said misrepresentations and omissions, plaintiffs and other members
of the Class were ignorant of their falsity, and believed them to be true. Had plaintiffs and the other
members of the Class and the marketplace known the truth regarding the problems that i2 was
experiencing, which were not disclosed by Defendants, plaintiffs and other members of the Class
would not have purchased or otherwise acquired their i2 securities, or, if they had acquired such
securities during the Class Period, they would not have done so at the artificially inflated prices
which they paid.

181. By virtue of the foregoing, Defendants have violated Section 10(b) of the Exchange
Act, and Rule 10b-5 promulgated thereunder.

182. Asadirect and proximate result of Defendants' wrongful conduct, plaintiffs and the
other members of the Class suffered damages in connection with their respective purchases and sales
of the Company's securities during the Class Period.

SECOND CLAIM

Violation Of Section 20(a) Of
The Exchange Act Against Individual Defendants

183. Plaintiffs repeat and reallege each and every allegation contained above as if fully
set forth herein.

184. The Individual Defendants acted as controlling persons of i2 within the meaning of
Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions, stock
ownership and/or participation in the Company's operations, the Individual Defendants had the
power to influence and control and did influence and control, directly or indirectly, the decision-
making of the Company, including the content and dissemination of the various statements which

plaintiffs contend were false and misleading. The Individual Defendants were provided with or had

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unlimited access to copies of the Company's reports, press releases, public filings and other
statements alleged by plaintiffs to be misleading prior to and/or shortly after these statements were
issued and had the ability to prevent the issuance of the statements or cause the statements to be
corrected.

185. Inparticular, each of these Defendants had direct and supervisory involvement in the
day-to-day operations of the Company and, therefore, is presumed to have had the power to control
or influence the particular transactions giving rise to the securities violations as alleged herein, and
exercised the same.

186. Asset forth above, i2 and the Individual Defendants each violated Section 10(b) and
Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their positions as
controlling persons, the Individual Defendants are liable pursuant to Section 20(a) of the Exchange
Act. As adirect and proximate result of Defendants' wrongful conduct, plaintiffs and other members
of the Class suffered damages in connection with their purchases of the Company's securities during
the Class Period.

WHEREFORE, plaintiffs pray for relief and judgment, as follows:

(a) Determining that this action is a proper class action and certifying plaintiffs
as class representatives under Rule 23 of the Federal Rules of Civil Procedure and plaintiffs' Lead
Counsel as counsel for the certified Class;

(b) | Awarding compensatory damages in favor of plaintiffs and the other Class
members against all Defendants, jointly and severally, for all damages sustained as a result of
Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

(c) Awarding plaintiffs and the Class their reasonable costs and expenses incurred

in this action, including counsel fees and expert fees; and

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(d) Such other and further relief as the Court may deem just and proper.

JURY TRIAL DEMANDED

Plaintiffs hereby demand a trial by jury.

DATED: May ¢_, 2003.

Respectfully sukmitted,

 

 

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SCHEDULE A

Lead Plaintiffs’ Purchases of i2 Common Stock During the Class Period

 

DATE SHARES PRICE
Philip Anthony: 11/20/00 5,000 $140.00
11/20/00 5,000 $140.00
01/30/01 8,700 $ 55.50
01/30/01 1,100 $ 55.45
01/30/01 200 $ 55.44
02/14/01 1,000 $ 52.50
02/20/01 8,000 $ 52.50
02/20/01 1,000 $ 52.50
Milson Lopes dos Reis: 02/07/01 5,000 $ 46.75
02/09/01 5,000 $ 42.13
02/16/01 3,000 $ 38.78
02/16/01 3,000 $ 38.79
Jack Chehebar: 01/26/01 1,000 x $ 54.75
02/01/01 2,000 $ 50.84
02/26/01 2,000 $ 27.50
G.O. Morphew: 02/15/01 4,500 $ 42.88
02/15/01 500 $ 42.81
02/15/01 3,095 $ 43.06
Fredrick W. Bradley: 01/30/01 2,000 $ 55.69

02/20/01 2,000 $ 38.13
